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8
                                UNITED STATES DISTRICT COURT
9
                             NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   ANDREA BARTZ, ANDREA BARTZ, INC.,                 Case No. 3:24-CV-05417-WHA
     CHARLES GRAEBER, KIRK WALLACE
13   JOHNSON, and MJ + KJ, INC., individually and on   Action Filed: August 19, 2024
     behalf of others similarly situated,
14                                                     DECLARATION OF MOHIT IYYER IN
                         Plaintiffs,                   SUPPORT OF DEFENDANT
15                                                     ANTHROPIC PBC’S OPPOSITION TO
           v.                                          PLAINTIFFS’ MOTION FOR CLASS
16                                                     CERTIFICATION
     ANTHROPIC PBC,
17
                         Defendant.                    Judge: Honorable William H. Alsup
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     IYYER DECL. ISO OPP. TO CLASS CERT.                               No. 3:24-CV-05417-WHA
1                                    DECLARATION OF MOHIT IYYER

2            I, MOHIT IYYER, declare as follows:

3     I.    QUALIFICATIONS AND ASSIGNMENT

4           A.      Qualifications

5            1.     My name is Mohit Iyyer. I am an Associate Professor of Computer Science at the

6     University of Maryland, College Park, and I also serve as an Adjunct Associate Professor of

7     Computer Science at the University of Massachusetts Amherst. I received my Ph.D. in Computer

8     Science from the University of Maryland in 2017, after which I served as an Associate Professor

9     at the University of Massachusetts Amherst and a Young Investigator at the Allen Institute for AI

10    (AI2). At the University of Maryland, I teach graduate-level courses in the fields of Natural

11    Language Processing (“NLP”) and Deep Learning, while supervising Ph.D. and Master’s degree

12    students.

13           2.     My research is focused on NLP and machine learning, particularly improving the

14    instruction-following abilities of large language models (“LLMs”) for long-form generation,

15    designing robust evaluation methods for long-form and multilingual text (focusing on factuality

16    and coherence), developing collaborative human-LLM systems for creative writing, and

17    increasing the robustness of LLM-generated text detectors against adversarial attacks such as

18    paraphrasing. I have extensive experience developing and evaluating LLM-based systems,

19    including language applications such as story generation, instruction-following models, and

20    factuality evaluation.

21           3.      I have published over 75 papers in leading journals and at conferences such as the

22    Association for Computational Linguistics (“ACL”), the North America chapter of the Association

23    for Computational Linguistics (“NAACL”), the Empirical Methods in Natural Language

24    Processing (“EMNLP”), the International Conference on Machine Learning (“ICML”), the

25    Conference on Neural Information Processing Systems (“NeurIPS”), to name a few. As of today,

26    per Google Scholar, I have over 28,000 citations, an h-index of 44, which means 44 of my

27    publications have been cited over 44 times, and an i-10 index of 79, which means 79 of my

28    publications have been cited over 10 times. My co-authored work “Deep Contextualized Word
                                                    -1-
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1    Representations”, which introduced the foundational ELMo model, has been widely cited,

2    including in “BERT: Pre-training of Deep Bidirectional Transformers for Language

3    Understanding” and OpenAI’s “Improving Language Understanding by Generative Pre-Training.”

4    My recent work includes research on long-context LLMs, watermarking of LLM outputs,

5    factuality scoring, evaluation of hallucination in generated text, and instruction tuning for complex

6    generation tasks. I also hold patents on dynamic memory networks and contextualized word

7    representations.

8           4.     My contributions to the field of machine learning have been recognized with several

9    awards, including the National Science Foundation (“NSF”) CAREER Award (2021), the

10   Samsung AI Researcher of the Year Award (2022), and multiple best/outstanding paper awards at

11   top conferences such as the Association for Computing Machinery Conference on Computer and

12   Communications Security (“ACM CCS”), the European Chapter of the Association for

13   Computational Linguistics (“EACL”), and the NAACL.

14          5.     I have been invited to deliver keynotes at conference workshops, including at the

15   Knowledge Discovery and Data Mining workshop at ACM’s Special Interest Group on

16   Knowledge Discovery and Data Mining (“SIGKDD”), ICML’s workshop on Long Context

17   Foundation Models, and ACM’s Special Interest Group on Information Retrieval’s (“SIGIR”)

18   workshop on Retrieval-Enhanced Machine Learning. I have also been invited to give talks at

19   universities such as New York University (“NYU”), the Massachusetts Institute of Technology

20   (“MIT”), and the University of Tokyo, on topics related to LLMs, retrieval-augmented generation,

21   and long context foundation models. I also serve as a Senior Area Chair for ACL and EMNLP,

22   and I’ve co-organized several workshops on narrative understanding, document-grounded

23   dialogue, and conversational question answering.

24          6.     A true and correct copy of my current curriculum vitae is attached as Exhibit A,

25   which contains additional information about my academic background, research contributions,

26   awards, and publication record.

27         B.      Assignment and Material Used

28          7. Counsel for Anthropic has asked me to perform two sets of analyses.
                                               -2-
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1            8.     First, I have been asked to analyze the methods for identifying books in Anthropic’s

2     datasets proposed in the Expert Declaration of Ben Y. Zhao, PhD in support of Plaintiffs’ Motion

3     for Class Certification (“Zhao Declaration” or “Zhao Decl.”) (ECF No. 125-6). The datasets I

4     have analyzed are versions of

5                  which I understand that Anthropic acquired from the internet (collectively, the

6     “Internet Books Datasets”). See Zhao Decl. ¶ 37.

7            9.     Second, I have been asked to perform queries of the Internet Books Datasets and

8     Anthropic’s metadata for its                                  (defined below) to identify possible books

9     in those datasets with certain characteristics.

10           10.    To perform my analysis, I reviewed Plaintiffs’ First Amended Complaint, the Zhao

11    Declaration and the source code for Dr. Zhao’s algorithm, the datasets and metadata produced in

12    discovery identified below, and publicly available information relating to the specific datasets at

13    issue. A list of the materials relied upon in the preparation of my declaration is attached as Exhibit

14    B.

15           11.    Anthropic provided me with access to the following datasets:
                                                                                  1
16                   ●                                                                );

17                   ●                                                                             ) and

18                         associated metadata; and

19                   ●
                                   3
20                                     ) and associated metadata.

21           12.    Anthropic also provided me with the following files containing metadata associated

22    with the following                     datasets:

23                   ●

24                   ●

25

26

27    1
        See Declaration of Mycal Tucker (“Tucker Decl.”) ¶ 12 n.5.
      2
        See Tucker Decl. ¶ 15 n.7.
28    3
        See Tucker Decl. ¶ 18 n.9.
                                                  -3-
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1                    ●                                                 .4

2     II.    SUMMARY OF OPINIONS

3             13.   In my opinion, the methods proposed by Dr. Zhao to identify books in the Internet

4     Books Datasets will not reliably identify books in the datasets. Dr. Zhao proposes three

5     “alternative approaches” that he would use to identify books in the Internet Books Datasets: (i)

6     consulting metadata, (ii) consulting                                                      , and (iii) a

7     “Book Hash” method.

8             14.   Dr. Zhao’s methodologies are not based on scientific standards that have been peer

9     reviewed or which are widely accepted in the field of natural language processing. Instead, he has

10    created his own methodologies for the purposes of this case.

11            15.   Dr. Zhao did not test his methodologies at scale to determine their error rate in any

12    of the datasets, except to try to determine if the small set of nine books written by the Plaintiffs are

13    in the Internet Books Datasets. See Zhao Decl. ¶¶ 66, 68.

14            16.   Dr. Zhao’s methodologies will result in false positives 5 and false negatives 6, and for

15    each of the steps of his analysis, and as a whole, he fails to identify the rates of false positives and

16    false negatives.

17            17.   The Internet Books Datasets in many cases contain small fragments of books, books

18    based on factual materials (encyclopedias, atlases, etc.), books published between 1926 and 1963,

19    books published between 1964 and 1989, and books by authors who are likely not United States

20    citizens.

21    III.   ANALYSES OF BOOK IDENTIFICATION METHODS FOR THE INTERNET

22           BOOKS DATASETS

23           A.     Dr. Zhao’s Proposed Metadata-Based Methods of Identifying Books

24            18.   Dr. Zhao’s first proposed approach to identify books in the Internet Books Datasets

25    4
        The metadata for these                   datasets were produced as ANT_BARTZ_000002544,
26    ANT_BARTZ_000004894; ANT_BARTZ_000436674, and ANT_BARTZ_000436675.
      5
        A “false positive” means that Dr. Zhao’s methodology would indicate that a book is present in
27    one of the datasets, when in fact the book is not present.
      6
        A “false negative” means that Dr. Zhao’s methodology would indicate that a book is not present
28    in one of the datasets, when in fact the book is present.
                                                       -4-
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1    is to “consult” the metadata. Zhao Decl. ¶ 50. But the metadata associated with these datasets (to

2    the extent it even exists) does not reliably identify the contents of the datasets; nor does Dr. Zhao

3    explain how he would consult the metadata with any degree of scientific rigor.

4                     1.                - Third Party Metadata Approach

5             19.       Dr. Zhao proposes two metadata-based approaches to identify books in the

6    Anthropic              Dataset. First, he proposes relying on unspecified metadata in the Anthropic

7              Dataset. See Zhao Decl. ¶ 50. Second, he proposes relying on a

8                                                                                                     . See id.

9    Neither method is reliable.

10                             a.       The Anthropic           Dataset File Names

11            20.

12

13

14

15               .7

16                                                                                                      Id. at

17   3.
                                    8
18

19            21.

20                                                                                 Zhao Decl. ¶ 19.

21            22.       The Anthropic          Dataset does not contain any structured metadata. Structured

22   metadata refers to metadata that follows specific rules and schemas in an organized fashion.

23   Instead, the Anthropic              Dataset only includes (i) a file name and (ii) the associated possible

24   “book” content for each record.

25
     7
26       Available at
     8

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1            23.    The Anthropic           Dataset comprises                          JSONL files are files

2     with a set of information on each line.

3

4     “filename” and “text” (which would contain the text of the possible “book” itself). The following

5     examples show Anthropic’s             Dataset format:

6

7

8

9

10

11           24.    As can be seen, each line is composed of pairs of file names and text from possible

12    “books”; I refer to these pairs as records. The “filename” field in the Anthropic            Dataset

13    generally, but not always, appears to provide information about the possible title and author of the

14    possible “book” whose text is contained in the “text” field.

15           25.    In some instances, the Anthropic           Dataset file names appear to accurately

16    and clearly describe their associated text. For example, to verify the accuracy of the first record

17    above, I manually compared the opening paragraphs of text in the “text” field with the opening

18    paragraphs of text in the Google Books preview of                                   and found that the

19    texts appeared to be from the same book. However, I could not verify that the complete book is

20    there without doing further analysis of the complete text. 9 Further, in many instances, the file

21    name does not identify a book, or seems to identify an incorrect book.

22           26.    To identify instances where the Anthropic            Dataset file names do not

23    accurately or clearly identify their associated text, I searched the Anthropic          Dataset for

24    records with very short file names (fewer than eight characters long). It should be noted that this is

25    just one method for identifying examples of inaccurate file names, and numerous additional

26

27    9
        The method of comparing to Google Books also cannot be used to confirm that the entire text in
      the dataset is the same as the Google Books version, because Google Books contains only excerpts
28    for many books.
                                                    -6-
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1     approaches likely exist. Using different types of searches would likely result in finding additional

2     incorrect file names, although I am not aware of a method that could comprehensively identify all

3     incorrect file names.

4             27.   I searched for short file names by removing any file extension portions of file

5     names 10, and then programmatically identifying file names shorter than 8 characters. Searching for

6     short file names yielded 335 file names with fewer than 8 characters. If a file name is very short, it

7     is highly unlikely to be useful to identify the book, as it would be unlikely to reflect author, title,

8     or even ISBN information (which is typically 10 or 13 numerical digits) or ASIN information

9     (Amazon Standard Identification Numbers are 10 character alphanumeric identifiers).

10            28.   I reviewed samples of the identified results and confirmed that this method

11    identified numerous examples of records whose file names do not accurately or clearly identify

12    their associated texts. The following tables list ten of these example records, with file names

13    compared to what I believe may be the correct titles and authors associated with the content of

14    their text records. To identify the possibly correct titles and authors of the books in the text fields,

15    I manually examined the text content and compared it with Google Books previews as before.

16    The file names in Anthropic’s            Dataset do not appear to correspond to correct or complete

17    information about book title or author, at least in some cases.

18    Short File Names

19                                                           Inferred correct title and author

20                                                           Mathematics, Substance and Surmise:
                                                             Views on the Meaning and Ontology of
21     1
                                                             Mathematics by Ernest Davis and Philip J.
                                                             Davis
22
                                                             1861 : The Civil War Awakening, by Adam
23     2
                                                             Goodheart
24
                                                             Kali Linux – Assuring Security by
25     3                                                     Penetration Testing, by Lee Allen, Tedi
                                                             Heriyanto, and Shakeel Ali
26

27
      10
        Many                      end with “.epub.txt” because the texts come from epub (eBook) files
28    that have been converted to text files.
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1
                                                               Agile Data Science: Building Data
2     4                                                        Analytics Applications with Hadoop by
                                                               Russel Jurney
3
                                                               Kierkegaard's World (How to Believe) by
4     5
                                                               Clare Carlisle
5                                                              What?: Are These the 20 Most Important
      6                                                        Questions in Human History--Or is This a
6
                                                               Game of 20 Questions? by Mark Kurlansky
7
                                                               Mining the Social Web: Data Mining
8     7                                                        Facebook, Twitter, LinkedIn, Google+,
                                                               GitHub, and More by Matthew Russell
9
                                                               Shopify Application Development: Build
10                                                             highly effective Shopify apps using the
      8
                                                               powerful Ruby on Rails framework by
11                                                             Michael Larkin
12                                                             High Performance Drupal: Fast and
13    9                                                        Scalable Designs by Jeff Sheltren, Narayan
                                                               Newton, Nathaniel Catchpole
14
                                                               Curious: The Desire to Know and Why Your
      10
15                                                             Future Depends On It by Ian Leslie

16                          b.
17          29.    Dr. Zhao also references a “
18            as a potential source of metadata to identify the books in Anthropic’s               Dataset.
19   Zhao Decl. ¶ 50. But                                   s not a reliable way to determine what is in
20   Anthropic’s version of           because: (i)                  admits the     is unreliable, (ii)
21            did not disclose the methodology it used to create the          with sufficient detail to allow
22   validation of its accuracy, and (iii) the version of                                                       is
23   likely not the same as the Anthropic            Dataset.
24          30.    First,              admits the           s unreliable.
25

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7            31.                 also admits that he was unable to find any identifying information for
8    thousands of books in                When he first disclosed th                , he admitted that out of
9                                  ” in the dataset, “
10                                                                     .” 12 In a
11

12                        . 13
13           32.      Second,                 does not disclose its methodology with sufficient detail to
14   validate its accuracy.             describes the method he used to create             at a very high level
15   as follows: 14
16                    ●
17

18                    ●
19

20                    ●
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     13
28   14

                                                          -9-
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1                    ●

2

3                    ●

4

5                                     .

6            33.    Third, even if one assumes that               used scientifically valid techniques and/or

7    that the error rate resulting from his methodology was acceptable,

8    would still not be a reliable way to determine whether a book is present in the Anthropic

9    Dataset because Anthropic likely possesses a different version of                than the one

10             has. I understand that Anthropic acquired its              Dataset around February 2021,

11   whereas             states that he acquired his version of           in the summer of 2023. Tucker

12   Decl. ¶ 9. Dr. Zhao has not disclosed any analysis to demonstrate that these versions—

13   downloaded years apart from each other—contain the same data. In fact, according to Dr. Zhao,

14   Anthropic’s            Datasets comprises            records, whereas

15                           records. 15

16           34.    Furthermore, Anthropic’s             Dataset could be different from                    due

17   to extraction errors that occurred in connection with Anthropic’s download, or the creators’

18   compilation of the            Dataset. However, there is no definitive way to know whether these

19   extraction errors are present in the original version of                                     or in

20              version without actually comparing those datasets.

21           35.    I examined data in the Anthropic               Dataset to identify text extraction errors,

22   which are errors resulting from failed or incomplete extractions of eBook text. These errors result

23   in missing content or truncated texts in the “text” fields of Anthropic’s              Dataset records. I

24   identified two types of extraction errors: full and partial extraction error files. Full extraction error

25   files are completely empty, containing no content at all, while partial extraction error files include

26   minimal content but are effectively empty (e.g., containing only a Table of Contents). To identify

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                                                       - 10 -
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1     potential candidates in these categories, I developed a script that applies a predefined set of

2     conditions to flag relevant files.

3              36.    The script uses the following criteria to flag extraction error files:

4                 ● The file is a full extraction error file if, and only if, the byte size of the file is 0

5                     bytes.

6                 ● The file is a partial extraction error file if:

7                       ○ The byte size of the file is less than 10,000 bytes, and

8                       ○ The average line length is 20 characters or fewer.

9              37.    Using these criteria, I obtained the following results for the Anthropic

10    Dataset:

11                ● Full extraction error files: 1,284

12                ● Partial extraction error files: 456

13             38.    A manual review of identified full extraction error files confirmed that the identified

14    Anthropic             Dataset entries are empty, confirming that no text was extracted from these

15    books.

16             39.    A manual review of the flagged partial extraction error files was conducted to

17    identify any false positives, meaning short files that did not actually reflect extraction errors. Out

18    of 456 partial extraction error files, only 14 were determined to be false positives. These appeared

19    to be primarily poetry files and short children’s stories, which naturally contain shorter and fewer

20    lines, making them match the defined criteria despite being valid files.

21             40.    The criteria for identifying partial extraction error files could be broadened (e.g., by

22    increasing the maximum file size or line length) to capture more true positives. However, this

23    approach would likely also increase false positives that would need to be filtered with manual

24    review. As a result, while 442 partial extraction error files have been confirmed in Anthropic’s

25               Dataset (out of 1,726 total extraction error files), expanding the criteria would almost

26    certainly reveal additional cases.

27             41.    In sum, to the extent Dr. Zhao suggests using                                            to

28    identify books in Anthropic’sDataset, that would not be a scientifically valid approach to
                                           - 11 -
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1    identify books in the Anthropic          Dataset.

2                 2.                            - Third Party Metadata Approach

3           42.    Dr. Zhao states that the Anthropic                         Datasets (the other two

4    Internet Books Datasets) “often have metadata associated with the underlying dataset that records

5    certain information regarding the books present.” Zhao Decl. ¶ 50 (emphasis added). However,

6    Dr. Zhao does not state how “often” this occurs, what the “certain” available metadata is, or make

7    any attempt to prove that this metadata is complete or reliable. Moreover, in my opinion, the

8    metadata in these sources is far from complete or reliable.

9           43.    As with Anthropic’s           Dataset, Dr. Zhao proposes two metadata-based

10   approaches to identifying books in the Anthropic              Dataset. First, he proposes relying on the

11   metadata that was compiled by the third parties that created             Zhao Decl. ¶ 50. Second, he

12   proposes relying on a

13                                           . For the Anthropic            Dataset, Dr. Zhao only

14   proposes relying on the metadata that was compiled by the third parties that created            . Id.

15                        a.      The Anthropic                             Metadata

16          44.    According to public reporting,

17                                                . 16

18                                                            . 17

19                                                                                        . 18
                             19
20

21

22   16
        Carolyn Caffrey Gardner & Gabriel J. Gardner, Fast and Furious (at Publishers): The
23   Motivations behind Crowdsourced Research Sharing, 78 College & Research Libaries 131, 132
     (2017), available at
24   https://www.researchgate.net/publication/317117356_Fast_and_Furious_at_Publishers_The_Moti
     vations_behind_Crowdsourced_Research_Sharing.
25   17
        Id.
     18
26

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                                                     - 12 -
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1           45.      The Anthropic               Dataset is separated into                                   portions,

2    and is composed of records in a variety of different file formats, including “epub”, “pdf”, and

3    “cbz.” I counted                                     in the        portion and                 in the

4                 portion, each a single file.

5           46.      The Anthropic               Dataset is also composed of records in a variety of different

6    file formats, including “txt”, “pdf”, and “epub.” I counted                  records, each a single file.

7           47.      Unlike Anthropic’s               Dataset, there is some structured metadata associated

8    with Anthropic’s                             Datasets. However, the metadata in these datasets has been

9    crowd-sourced over years 20 and is extremely prone to errors. Because of the interrelated origins of

10           and           , they share common metadata failings.

11          48.      A comment on a YCombinator.com forum describes the metadata creation process

12   for          as follows:

13

14

15

16
                                                                                           21
17

18          49.      A forum on             allows reporting of              URLs that point to a book that
19   does not match the corresponding metadata. 22 There are
20                                                                            While the thread indicates some
21   of the reported errors were fixed, the high rate at which new posts have been made over the years
22   indicates that the book/metadata mismatch is a widespread problem with                     .
23          50.      I searched for instances where Anthropic’s               metadata records do not
24
     20
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27   21


28   22
                                                                                            .
                                                          - 13 -
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1     accurately describe their associated possible “book” files by reviewing posts in the

2                                                                                    for instances where

3     users described errors in other         metadata.

4            51.    After identifying posts listing known (or at least suspected) metadata errors, I

5     identified the noted records in the Anthropic          Dataset by locating the Anthropic

6     metadata record associated with the md5 hash 23 listed in the post. I repeated for the latest ten

7     forum posts identifying errors in            ecords added to         before 2022. 24 I then compared

8     the possible “book” file associated with the metadata record with the metadata and found that in

9     all ten cases the metadata attributes described a completely different book from the possible

10    “book” in the metadata record’s associated raw book file. For example, the metadata record for the

11            record for

12            is associated with a “book” file containing the text of
                                              25
13

14           52.    The following table lists those ten instances:

15

16
            Title                  Author                   Publication Year
17

18
            Clueless in the
19          Kitchen: A         Evelyn Raab,
       1                                                    1998
            Cookbook for Teens George A. Walker
20

21
                                   Jill B. Becker, Karen
22     2    Set Theory             J. Berkley, Nori      2003
                                   Geary, Elizabeth
23

24    23
         An md5 hash is an alphanumeric identifier used in the            database to uniquely identify
      books. It is generated by passing the raw binary contents of a file through MD5, a cryptographic
25
      hash function.
      24
26       I limited my search to books added before 2022 to increase the likelihood that these books
      would be present in Anthropic’s           dataset.
27    25
         This was confirmed by examining the cover of the file, which listed this title and authors. I
      further compared the opening paragraph of the book file with the Google Books preview for
28                              and verified that they matched.
                                                      - 14 -
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1
                                Hampson, James P.
2                               Herman, Elizabeth
                                Young
3
          Philosophy
4
          Guidebook to Kant
5     3   and the Critique of   V. Spike Peterson      1998
          Pure Reason
6

7
          Handbook of
8
      4   Reagents for          Philip L. Fuchs        2013
9         Organic Synthesis

10

11        Python and Tkinter
      5                         John E. Grayson        2000
          Programming
12

13

14
          Compact cabins :
15    6   simple living in 1,000 Gerald Rowan         2009
          square feet or less
16

17

18
          The Lost Science of
19        Money: The
      7                       Stephen A. Zarlenga     2002
          Mythology of Money,
20        The Story of Power
21

22                            Sogyal Rinpoche,
          The Tibetan Book of
      8                       Patrick D. Gaffney,     1994
          Living and Dying
23                            Andrew Harvey

24
          1.e4 vs The French,
25    9   Caro-Kann &           Parimarjan Negi       2014
          Philidor
26

27

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                                                  - 15 -
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1
          Indicators of Equal
2         Employment
       10                          Rosa Luxemburg              2003
          Opportunity: Status
3         and Trends
4

5            53.    I also identified errors in the            metadata by comparin           metadata

6     records with their associated raw possible book files. Many of th               raw book files

7     referenced in its metadata are not present in the actual dataset. For example, the first book in the

8             table above, Clueless in the Kitchen: A Cookbook for Teens, by Evelyn Raab and George

9     A. Walker, has an entry in the          metadata, and its metadata

10                                                                                       , the indicated raw

11    book file does not exist in the         dataset, representing a significant discrepancy between the

12    metadata record and its raw book content. In total, while only               raw book files exist in

13            there are at least            entries 26 in th          metadata, and thus less than 30% of

14            metadata entries are associated with a book file. The following table lists results from

15    searching for the books in the          metadata errors table above in             While all of the

16    books (as identified by their unique hash identifier) were present in the            metadata, none of

17    their associated book files were present in the dataset.

18

19

20                                                                                          Book in Dataset

21                                                 Publication
           Title             Author
                                                   Year
22
           Clueless in the
23         Kitchen: A        Evelyn Raab,
      1    Cookbook for      George A.             1998                                     Not Present
24         Teens             Walker
25

26

27    26
        There are a total of            rows in the          metadata file, but many of the rows are not
      valid metadata entries (e.g., additional columns, incorrectly formatted rows). Using pandas, the
28    Python library, to load in the metadata file and ignore bad lines results in           entries.
                                                      - 16 -
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1
                          Jill B. Becker,
2                         Karen J.
                          Berkley, Nori
3    2   Set Theory       Geary, Elizabeth 2003                     Not Present
                          Hampson, James
4                         P. Herman,
5                         Elizabeth Young

6        Philosophy
         Guidebook to
7        Kant and the     V. Spike                                  Not Present
     3                                      1998
         Critique of      Peterson
8        Pure Reason
9
         Handbook of
10
         Reagents for                                               Not Present
     4                    Philip L. Fuchs   2013
11       Organic
         Synthesis
12
         Python and
13   5   Tkinter          John E. Grayson   2000                    Not Present
         Programming
14
         Compact cabins
15       : simple living in
     6                      Gerald Rowan    2009                    Not Present
16       1,000 square feet
         or less
17
         The Lost Science
18       of Money: The
                          Stephen A.                                Not Present
     7   Mythology of                       2002
19                        Zarlenga
         Money, The
         Story of Power
20
                          Sogyal Rinpoche,
21       The Tibetan
                          Patrick D.                                Not Present
     8   Book of Living                    1994
22                        Gaffney, Andrew
         and Dying
                          Harvey
23
         1.e4 vs The
24   9   French, Caro- Parimarjan Negi      2014                    Not Present
         Kann & Philidor
25
        Indicators of
26
        Equal                                                       Not Present
     10                   Rosa Luxemburg 2003
27      Employment
        Opportunity:
28
                                                   - 17 -
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1
          Status and
2         Trends

3                            b.
4            54.   Similar to what it did for
5                                                                     , which Dr. Zhao states he may rely upon to
6    identify books in Anthropic’s version of                     .
7            55.   This           suffers from the same types of inadequacies as                                        .
8            56.   First,                      gain acknowledges that the             is error-prone and prominently
9    disclaims correctness                                  :
10

11
                                          27
12

13           57.   Second,                      does not disclose any information about the methodology it

14   used to create this          so it is not possible to scientifically validate its accuracy.

15           58.   Third,                                                 is also almost certainly different from the

16   Anthropic             Dataset. I understand that Anthropic obtained its                    Dataset around June

17   2021. However,                     states that its version of the dataset is a

18                     . This is significant because the content of                    is a crowd-sourced dataset that

19   is constantly changing, such that looking at the content of one version created this year is an

20   entirely unreliable way to determine the contents of a version obtained four years ago.

21           59.   Similar to the Anthropic                     Dataset, there is also evidence of errors in the

22   extraction, uploading, and/or downloading process for the Anthropic                                      Datasets.

23   I examined raw book files in the                 and                datasets to identify instances where the raw

24   book file is fragmented or malformatted. To search for these instances, I identified the smallest

25   EPUB (eBook) and PDF files in the                   Dataset and the smallest overall files in the

26

27   27


28
                                                                - 18 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                                  No. 3:24-CV-05417-WHA
1    Dataset.

2               60.   I manually reviewed the five smallest EPUB and PDF files in the             Dataset

3    and five smallest overall files in the          dataset. All files displayed significant errors: the PDF

4    files were empty, the EPUB files could not be loaded or viewed as eBooks, and the smallest

5                files contained malformatted error messages. These errors likely occurred while the

6                or        datasets were uploaded, downloaded, or extracted.

7               61.   Indeed, as              noted with respect to any attempt to compare its

8    database with a version

9

10
                                                                                                          28
11

12   Therefore, there is also every reason to believe that                               includes numerous

13   books that are not present in                                .

14              B.    Dr. Zhao’s “Book Hash” Approach

15              62.   As an alternative to his proposal to use third party metadata or      to identify

16   possible books in the Internet Books Datasets, Dr. Zhao proposes a Book Hash approach that

17   relies on “one-way hashing algorithms,” or “hash codes.” Zhao Decl. ¶ 54. Hash codes are

18   commonly used for matching texts that are exactly the same, but are imperfect for fuzzy matching,

19   particularly in the way that Dr. Zhao applied his.

20              63.   It is not possible to use Dr. Zhao’s hash method to comprehensively identify all of

21   these millions of books because the hash method presupposes the existence of a “source of truth,”

22   an authoritative digitized version of each book that might be in a given dataset. But Dr. Zhao does

23   not specify where such “source of truth” copies would be obtained. Separately, Dr. Zhao’s

24   methodology will be unreliable for several reasons, meaning it will undeniably result in false

25   positives and false negatives. He does not attempt to identify the rates of false positives and false

26   negatives associated with his method.

27

28   28
          Id.
                                                       - 19 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                        No. 3:24-CV-05417-WHA
1             64.   Dr. Zhao Fails to Identify a Source of Truth Dataset. First, the hash method is not

2     feasible to implement in reality because it requires a “source of truth” and Dr. Zhao fails to

3     identify how the parties would obtain one. Put simply, hashing is a matching technology. Dr.

4     Zhao’s proposed method requires comparing every sentence with more than ten words from an

5     authoritative digitized copy of each book against Anthropic’s datasets. Zhao Decl. ¶¶ 60, 63. If

6     there is a sufficiently high degree of match, Dr. Zhao would declare it a positive identification. Id.

7     ¶ 64.

8             65.   To use this method, one must have a digitized copy of every book that may be in

9     Anthropic’s datasets. For example, even if Dr. Zhao had digitized copies of all 200,000 books in

10    the HarperCollins catalogue, he could not use the hash method to rule any book in the Penguin

11    Random House catalogue in or out of a dataset. In short, using Dr. Zhao’s hash method to

12    determine the contents of a dataset would require obtaining a digitized copy of each of the many

13    millions of books that may or may not be in an Anthropic dataset.

14            66.   But Dr. Zhao provides no indication of where these authoritative copies will come

15    from, creating a fundamental, practical flaw in his proposal. Because Dr. Zhao has no plan to

16    obtain all such authoritative copies of books, his hash method cannot be used to ascertain the

17    contents of a dataset.

18            67.   Dr. Zhao’s Book Hash Method Is Unreliable and He Does Not Address the

19    Numerous False Positives and False Negatives That It Would Produce. Dr. Zhao’s hash method

20    requires the determination of several thresholds, and setting those thresholds has consequences on

21    the results: setting too strict a threshold means missing valid matches (false negatives) and setting

22    too permissive a threshold means finding invalid matches (false positives). Finding the optimal

23    setting often requires tuning and validation, and in any event requires making calibration choices.

24    As an initial matter, Dr. Zhao sets several important thresholds for the hash comparison based on

25    his subjective judgment, without explaining his reasoning. These choices include setting the

26    minimum sentence length to be analyzed at 10 words or more and

27                                              Moving the threshold for when to ignore a sentence up or

28    down will change whether a particular snippet of a book is considered a match. There are many
                                                   - 20 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                   No. 3:24-CV-05417-WHA
1    sentences of more than ten words that appear in many books. For example, this quote from

2    Ecclesiastes appears littered through literature and contains more than ten words: “To every thing

3    there is a season, and a time to every purpose under heaven.” A change in this particular parameter

4    will result in large differences in what is considered or not considered a match.

5           68.

6
                                                  29
7

8

9
                                             30
10

11                                                                                               This

12   arbitrary change is a further indicator of the unreliable and untested nature of Dr. Zhao’s hash

13   method.

14          69.

15

16                                                                                    Since many potential

17   “book” records will include boilerplate text and identifying information from the publisher at the

18   beginning, this is particularly important, and

19

20

21                Because of this, it is likely that there will be many false positive matches. The hash

22   method does not require that sentences be in the same order or even in the same location in the

23   two books under consideration, greatly increasing the likelihood of a false positive.

24          70.      Dr. Zhao also proposes a validation method in which the books are divided into

25   equal subsets and the subsets are then analyzed to determine whether the matching rate for each

26

27   29
         Dr. Zhao’s source code was produced as BARTZ_ZHAO_CERT_000000506 and
      BARTZ_ZHAO_CERT_000000507.
28    30
         Dr. Zhao’s later-produced source code was produced as BARTZ_ZHAO_CERT_000000509.
                                                   - 21 -
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1    subset is “approximately” equal to the matching rate for the whole book in order to determine

2    whether a full copy of the book is present. Zhao Decl. ¶ 64.

3                                                                    Moreover, Dr. Zhao does not define

4    what it means for rates to “approximately” match. Making the tolerance stricter (such that the rate

5    from each subset must be very close to the overall rate) would reduce incorrect matches, but

6    would also possibly eliminate some correct matches. On the other hand, lowering the tolerance

7    would make incorrect matches more likely, but would reduce the risk of missing correct matches.

8             71.      Furthermore, this algorithm is fundamentally flawed. For example, Dr. Zhao’s

9    method could suggest dividing a book into two equal parts—i.e., the subsets. Assume that each

10   half has 10 sentences. Then assume two sentences in each half are a match for the copy provided.

11   In that case, the matching rate for the subsets (2 out of 10 for each) would be the same as the

12   matching rate for the whole (4 out of 20), and Dr. Zhao would consider this evidence of the entire

13   book being present in the copy, not a mere quotation. But it is clear that quoting two sentences

14   does not imply that “the book—rather than a summary or lengthy quotation—is present within the

15   data.”

16            72.      Dr. Zhao’s method is also very sensitive to formatting differences. For example, if

17   one copy of a book has line breaks mid-word in many sentences but another copy does not have

18   these word breaks, the hashing algorithm will deem them to be different, even if a human would

19   understand them to be duplicates. For example, suppose the source-of-truth book is a 2020 edition

20   of a certain book and a 2025 edition of the same book exists in one of Anthropic’s datasets.

21   Because the 2020 edition of the book in question may not have the same formatting as the 2025

22   edition, and because Dr. Zhao’s hash method is so sensitive to formatting differences (as described

23   below), Dr. Zhao’s method is likely to overlook this match, based on formatting differences.

24            73.      For example, Dr. Zhao’s method handles newlines and tabs in a way that is likely to

25   lead to errors.

26

27

28
                                                       - 22 -
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1

2

3

4           74.    Dr. Zhao testified at his deposition that

5           Declaration of Douglas A. Winthrop in Support of Defendant Anthropic PBC’s Opposition

6    to Plaintiffs’ Motion for Class Certification, Ex. 40, Deposition of Ben Y. Zhao (“Zhao Dep.”) at

7    79:23-80:3.

8

9

10                                                                     The table below shows examples of

11   this behavior, using the sentence “She wandered through the quiet forest, listening to birdsong and

12   savoring the crisp morning air.” To generate the hashes in the table below, I used

13                      , without making any modifications. As shown in the table,

14

15

16

17

18
     Sentence                          Changes                            Hash
19
     She wandered through the        Base sentence                        850174d76e82d8b90cafd4e4fe
20   quiet forest, listening to                                           6a7db007d73b3ee00f32e0413
     birdsong and savoring the crisp                                      91dd645d9003b
21   morning air.
22   She wandered through the        Multiple spaces between              1dba269db1424a6afb64979a7
23   quiet forest, listening to      “wandered” and “through”,            d9ff0c563e8cb7afa41fe5c9b0e
     birdsong and savoring the crisp and “forest,” and “listening”        9792c9eac62b
24   morning air.

25   She wandered\n through the        Newline characters between         1dba269db1424a6afb64979a7
     quiet forest, listening to        “wandered” and “through”,          d9ff0c563e8cb7afa41fe5c9b0e
26   birdsong\n and savoring the       and “forest,” and “listening”      9792c9eac62b
     crisp morning air.
27

28
                                                     - 23 -
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1            75.   Other areas where similar problems are likely to occur include: errors in line and

2    paragraph spacing, chapter titles and headers mixed in with body text, how to handle conversion

3    of special characters (which are particularly common in academic, scientific, mathematics, and

4    technical books), and footnotes appearing out of place.

5            76.   These formatting differences would be amplified to the extent that different

6    conversion technologies were used to create the source of truth and the Internet Books Datasets,

7    which is inevitable. To perform the hash algorithm, Dr. Zhao must first create a .txt file to use as a

8    source of truth to compare against Anthropic’s datasets. He does not say if his intent is to start

9    with physical books or ebooks. For physical books, Dr. Zhao would have to scan the book using

10   optical character recognition (“OCR”) software, and then re-format it into a .txt file. For ebooks

11   (books in digital format), there are many different possible file formats, such as .epub. These files

12   would also need to be converted to .txt files as part of the hash methodology, which could require

13   using different conversion technologies. The Internet Books Datasets themselves were created by

14   third parties, also presumably using numerous different methods. The heterogenous ways in which

15   the Internet Books datasets were created and/or converted to .txt files are likely to create

16   significant problems for Dr. Zhao’s hash algorithm.

17           77.   The last step of Dr. Zhao’s hash method is “a final robustness check may be

18   performed which simply involves viewing a portion of Anthropic’s data identified alongside the

19   book in question to verify the presence of the book in Anthropic’s data.” Zhao Decl. ¶ 65. Put

20   more simply, the last step of Dr. Zhao’s hash method is for a human being to view the two files

21   under consideration side-by-side to make a subjective determination if they reflect the same book.

22           78.   According to Dr. Zhao, the total number of candidate files that needs to be compared

23   may be as many as              possible records. Zhao Decl. ¶ 20

24                               , ¶ 24                                                             , ¶ 33

25                                                               Dr. Zhao’s robustness step is not

26   practical:

27                  ● He does not say what would qualify as a sufficiently robust human review;

28               ● Human review will be inherently subjective and error-prone; and
                                             - 24 -
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1                    ● Human review will be extraordinarily time consuming.

2             79.   Normally, when an individual proposes a new text matching algorithm, it would be

3     industry standard to test and validate that algorithm works before deploying it.

4

5                                                  . Zhao Dep. at 84:18-85:15. Simply spot checking

6     whether a method works for an unspecified number of examples is not an adequate or reliable way

7     to validate an algorithm.

8     IV.   THE CONTENTS OF ANTHROPIC’S BOOKS DATASETS

9             80.   I performed analyses to identify records with the following characteristics in the

10    Internet Books and                   Datasets: (1) fragments of books; (2) factual books; (3) books

11    published between 1926-1963; (4) books published between 1964-1989; and (5) books by authors

12    who are likely not United States citizens.

13            81.   As discussed in detail above, there is inconsistent availability and reliability of

14    metadata across the three Internet Books Datasets. Because of this, I used different methods to

15    identify and confirm the presence of particular books in each dataset.

16            82.   To search for possible evidence of books in the Anthropic              Dataset, I

17    searched for file names that contained an apparent title of the book. I then manually compared the

18    opening paragraphs of text in the “text” field with the opening paragraphs of text in the Google

19    Books preview of the book indicated by the file name to confirm that the text appeared consistent

20    with the file name. 31

21            83.   To search for possible evidence of books in the Anthropic              Dataset, I

22    consulted the table of metadata associated with Anthropic’s              Dataset. This table included a

23    column that appeared to contain the titles of books. I first searched for the book’s title in this

24    column. Each row of the Anthropic              metadata table also contained a file location for the

25    possible “book” record associated with the row. If at least one row’s title field contained the title

26

27    31
        As noted above, the method of comparing to Google Books cannot be used to confirm that the
      entire text in the dataset is the same as the Google Books version, because Google Books contains
28    only excerpts for many books.
                                                       - 25 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                     No. 3:24-CV-05417-WHA
1     of the book, I examined the possible “book” record for that row and, similar to the procedure

2     described above for Anthropic’s             Dataset, manually compared the text of the book to the

3     Google Books preview to determine if it appeared consistent with the metadata.

4            84.    To search for possible evidence of books in the Anthropic              Dataset, I

5     consulted the table of metadata associated with the           Dataset. This table included a column

6     that appeared to contain the titles of books, and a second column that appeared to contain names

7     of authors. I first searched for the book’s title and author in these columns. Each row of the

8             metadata table also contained a file location for the possible “book” file associated with

9     the row. If at least one row’s title and author fields contained the title and author of the book, I

10    examined the possible “book” record for that row 32 and, similar to the procedures described above

11    for          and         , manually compared the text to the Google Books preview to determine if

12    it appeared consistent with the metadata.

13           85.    To search for possible evidence of books in the                     Dataset, I searched

14    the                  Dataset metadata for records whose titles matched the book’s title. I then

15    reviewed any such metadata records to verify that the record’s ISBN matched the ISBN for at least

16    one version of the book, and that the record’s listed author was the author of the book.

17          A.      The Internet Books Datasets contain many records that do not appear to be

18                  books or appear to be small fragments of books.

19           86.    I searched for book files in the Internet Books Datasets that either do not contain

20    books or contain only small fragments of books.

21           87.    To search for book files in           that do not contain books or contain only small

22    fragments of books, I identified all files in         with less than 10,000 characters. For reference,

23    there are about 5 characters in the average English word and about 2,000 characters per page. 33 I

24
      32
         In all cases, I used the                       (ANT_BARTZ_000436666, as did Zhao (see
25
      Zhao Decl. ¶33)).
      33
26       See Vladmir V. Bochkarev et al., The Average Word Length Dynamics as an Indicator of
      Cultural Changes in Society, 12 Soc. Evolution & Hist. 153, 155 (2015), available at
27    https://www.sociostudies.org/journal/files/seh/2015_2/153-175.pdf; Don Leeper, How many pages
      will your book have? A castoff can tell you, Bookmobile (July 13, 2015), available at
28    https://www.bookmobile.com/print-positive/how-many-pages-will-your-book-have/.
                                                     - 26 -
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1    counted the number of characters in the text field for each row of the               dataset, then sorted

2    all counts according to the number of characters. The below table shows the number of records in

3            containing fewer than 10, 100, 200, 500, 1,00, 2,000, 5,000, and 10,000 characters.

4                                100             200       500        1000        2000        5000         10,000
                   10 char.
                                char.           char.     char.       char.       char.       char.         char.
5

6

7           88.    I reviewed a sample of these results and found that many of them included entirely

8    empty records or clear instances where the record contained only a small fragment of a possible

9    book. For example, many records contained only the table of contents of a book. As book texts get

10   longer, they are more likely to contain entire books, but my review indicated that files with up to

11   10,000 characters often still contain only a fragment of the book.

12          89.    To search for book files in             that do not contain books or contain only small

13   fragments of books, I identified raw book files in             that are small in file size. I first

14   measured the file size of each raw book file, then grouped the book files by extension (so all PDF

15   files were grouped together, for example), and then examined the five smallest PDF and five

16   smallest EPUB files in the                     dataset. I found that all ten of these files did not contain

17   a book, or even a fragment of a book. The following table lists the files examined, their listed

18   contents in the          metadata, and their actual contents.

19
                                                   Metadata Entry
20                                                                             Actual Content
21                                      Title              Author

22
      1                                                                        Blank PDF File
23

24
      2                                                                        Blank PDF File
25

26    3                                                                        Blank PDF File
27
      4                                                                        Blank PDF File
28
                                                        - 27 -
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1

2
       5                                                                     Blank PDF File
3

4      6                                                                     1-line text file
5

6      7                                                                     3-line text file

7
       8                                                                     Malformatted Epub File
8

9      9                                                                     Malformatted Epub File
10

11     10                                                                    Malformatted Epub File

12

13           90.    To search for book files in          that do not contain books or contain only small
14    fragments of books, I followed a similar process. Again, I first measured the file size of each raw
15    book file, then examined the five smallest raw book files 34 that contained at least one byte in the
16            dataset and included author and title fields in the metadata. I found that all five of these
17    files did not contain a book, or even a fragment of a book. The following table lists the files
18    examined, their listed contents in the         metadata, and their actual contents.
19

20                                                Metadata Entry
                                                                             Actual Content
21                                     Title             Author
22
       1                                                                     1-line text file
23

24     2                                                                     2-line text file

25

26     3                                                                     1-line text file

27
      34
               files are not identified by file extension, so I did not group files by extension and instead
28    examined the 5 absolute smallest files across the entire           dataset.
                                                      - 28 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                        No. 3:24-CV-05417-WHA
1
      4                                                                    2-line text file
2

3
      5                                                                    2-line text file
4

5
           B.        The datasets appear to have many books composed of factual works, such as
6                    textbooks.
7              91.   The Internet Books Datasets and                   Datasets include many records that
8    appear to contain text from factual works, such as textbooks.
9              92.   To identify examples of factual works in each of the datasets, I queried each dataset
10   to find keyword matches. I searched for the word “encyclopedia,” “atlas,” or “textbook” in the
11   first 2,000 words of each document for the Anthropic             Dataset and in Anthropic’s metadata
12   for the           Dataset and         Dataset and the                 Dataset, and saved keyword
13   matches as candidate factual works. Finally, I manually inspected these candidates to identify true
14   positives. The following paragraphs provide additional details and list the results of these
15   searches.
16

17
                                                Factual Work
18             Author            Title
                                                  Keyword
19
         W.
                     An Atlas of
20       Ellenberger
       1             Animal Anatomy            Atlas
         and Francis
21                   for Artists
         A. Davis
22                        Atlas of Surgical
           Dan M.         Approaches to
23     2                                     Atlas
           Fliss and      Paranasal Sinuses
24         Ziv Gil        and the Skull Base

25         Thomas         Early Mapping of
       3                                   Atlas
           Suárez         the Pacific
26

27                        Start Maps:
       4 Nick Kanas                            Atlas
                          History, Artistry,
28
                                                       - 29 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                      No. 3:24-CV-05417-WHA
1
                      and Cartography
2
                      The Human Brain:
3                     An Introduction to
       5 John Nolte                      Atlas
4                     Its Functional
                      Anatomy
5

6
           Vincent    Encyclopedia of
       6                               Encyclopedia
7          Terrace    Television Shows

8
         Roland
9        Greene,
         Stephen
10       Cushman,
                      The Princeton
         Clare
11     7              Encyclopedia of Encyclopedia
         Cavanagh,
                      Poetry and Poetic
12       Jahan
         Ramazani,
13       and Paul
         Rouzer
14
         Denise
15       Cush,
16       Catherine   Encyclopedia of
       8                                Encyclopedia
         Robinson, Hinduism
17       and Michael
         York
18

19
           Everett    Encyclopedia of
20     9                                 Encyclopedia
           Ferguson   Early Christianity
21

22
          Charles
23        Russell
                      Encyclopedia of
       10 Coulter and                   Encyclopedia
24                    Ancient Deities
          Patricia
25        Turner

26                    Elementary
                      Korean
       11 Insun Lee                     Textbook
27                    Workbook: A
                      Complete
28
                                                 - 30 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                  No. 3:24-CV-05417-WHA
1
                         Language Activity
2                        Book for
                         Beginners
3
          Scott R.
4         Steele,
          Tracy L.
5         Hull, Neil
6         Hyman,         The ASCRS
       12 Justin A.      Textbook of Colon Textbook
7         Maykel,        and Rectal Surgery
          Thomas E.
8         Read, and
          Charles B.
9         Whitlow
10
                         Classical and
11                       Quantum
            Walter
       13                Dynamics -- From Textbook
            Dittrich
12                       Classical Paths to
                         Path Integrals
13

14          Vladimir A. Mathematical
       14                                     Textbook
            Zorich      Analysis I
15

16        Nancy          Biblical Hebrew:
       15 deClaisse-     An Introductory      Textbook
17        Walford        Textbook

18

19

20                                             Factual
            Author       Title                  Work
21                                             Keyword
22
            V. Suzanne Anatomy: A
      1                                   Atlas
23          Klimberg   Photographic Atlas

24          Johannes W.
            Rohen
                         Atlas of the
25          Chihiro
      2                  Histology of Brain Atlas
            Yokochi,
26                       Tumors
            Elke Lutjen-
27          Drecoll

28    3     K.J. Zulch   Atlas of Pediatric   Atlas
                                                      - 31 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                       No. 3:24-CV-05417-WHA
1
                        Cutaneous
2                       Biodiversity:
                        Comparative
3                       Dermatologic Atlas
                        of Pediatric Skin of
4                       All Colors
5                       Bali Street Atlas
6          Nanette B.   Third Edition:
      4                                    Atlas
           Silverberg   Bali's Most Up-To-
7                       Date Street Atlas

8          V. Suzanne
                      Atlas of Breast
           Klimberg,
9     5               Surgical                 Atlas
           Courtney
                      Techniques
           Townsend
10
           Frank K.     Encyclopedia of
11    6                                        Encyclopedia
           Flinn        Catholicism
12
           Gale Group, Encyclopedia of
13         Rosalyn     Drugs, Alcohol,
      7                                        Encyclopedia
           Carson-     and Addictive
14         Dewitt      Behavior
15         Robert U
           Ayres,
16
           Robert
                       Encyclopedia of
17    8    Costanza,                           Encyclopedia
                       Energy Volume I
           Jose
18         Goldemberg,
           et al.
19
           Richard C.
20         Selley,
                        Encyclopedia of
      9    Robin                         Encyclopedia
21                      Geology Volume 1
           Cocks, Ian
22         Plimer

23         Alan V.      The Crusades: An
      10                                 Encyclopedia
           Murray       Encyclopedia
24
                        The American
25                      Psychiatric
           James L.     Publishing
26    11                                       Textbook
           Levenson     Textbook of
27                      Psychosomatic
                        Medicine
28
                                                       - 32 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                        No. 3:24-CV-05417-WHA
1
                     Wilson & Gisvold's
2        John Block, Textbook of
      12 John M.     Organic Medicinal Textbook
3        Beale       and Pharmaceutical
                     Chemistry
4
         Tadataka
5        Yamada,
6        David H.
         Alpers,
                      Textbook of
7        Anthony N.
                      Gastroenterology, 2
      13 Kalloo, Neil                     Textbook
8                     Volume Set, 5th
         Kaplowitz,
                      Edition
         Chung
9        Owyang,
10       Don W.
         Powell
11
                      American
12                    Psychiatric
                      Publishing
13                    Textbook of
         Myron F.     Alzheimer's
14
         Weiner,      Disease and Other
      14                                Textbook
15       Anne M.      Dementias: The
         Lipton       APP Textbook of
16                    Geriatric
                      Psychiatry
17                    Diagnostic Issues
18                    in Dementia

19       Howard M.    Brocklehurst's
         Fillit MD,   Textbook of
20       Kenneth      Geriatric Medicine
      15                                 Textbook
         Rockwood,    and Gerontology,
21       Kenneth      Seventh Edition:
         Woodhouse    Expert Consult
22

23

24
                                            Factual Work
25        Author       Title
                                              Keyword
26
      1   Joshua Foer Atlas Obscura       Atlas
27

28    2   Lofi J.,    Seismic Atlas of the Atlas
                                                   - 33 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                    No. 3:24-CV-05417-WHA
1
           Deverchere Messinian Salinity
2          J., Gaullier Crisis markers in the
           V., et al.   Mediterranean and
3                       Black Seas
4          Nathan M.
                      Atlas of Equine
      3    Slovis DVM                           Atlas
5                     Endoscopy
           Dipl ACVIM
6
                          Atlas of Novel
      4    Jesse Reiser                         Atlas
7                         Tectonics

8          Siba P.        Color Atlas of Head
           Dubey,         and Neck Surgery:
      5                                       Atlas
9          Charles P.     A Step-By-Step
           Molumi         Guide
10
           Dorling        Space: a Visual
11    6                                         Encyclopedia
           Kindersley     Encyclopedia
12                        The Element
           Theresa
13    7                   Encyclopedia of       Encyclopedia
           Cheung
                          20,000 Dreams
14
           Martha
                          Martha Stewart's
15         Stewart
      8                   Encyclopedia of       Encyclopedia
           Living
16                        Crafts
           Magazine
17                        Encyclopedia of
           Geoffrey I.
      9                   Machine Learning      Encyclopedia
18         Webb
                          and Data Mining
19
                          Encyclopedia of
20                        Norse and Germanic
           Claude
      10                  Folklore,          Encyclopedia
21         Lecouteux
                          Mythology, and
                          Magic
22
                          Beginning Japanese
23         Emiko
      11                  for Professionals: Textbook
           Konomi
24                        Book 1

25       Yiping Fang,
                      Spatial Thinking in
         Vivek
                      Planning Practice:
26    12 Shandas,                         Textbook
                      An Introduction to
         Eugenio
27                    GIS
         Arriaga
28
                                                        - 34 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                         No. 3:24-CV-05417-WHA
1
                       The Balance of
      13 Chris Allen                       Textbook
2                      Personality

3        William
                       Computer Security
         Stallings,
4     14               Principles and    Textbook
         Lawrie
                       Practice.pdf
         Brown
5
         Alyn G.
6
         McFarland, AQA A-Level
7     15 Teresa      Chemistry Textbook Textbook
         Quigg, Nora Year 1
8        Henry

9

10

11           ISBN or ASIN                     Title                             Author

12                             The Concise Encyclopedia of
                                                                  J. O. Urmson (Editor); Jonathan
       1 9780044453420         Western Philosophy and
                                                                  Ree (Editor)
13                             Philosophers

14                             Encyclopedia of Science,
       2 9780028658346                                            Carl Mitcham
                               Technology, and Ethics
15
                                                                  Selma Jeanne Cohen (Editor);
16                             International Encyclopedia of
       3 9780195123067                                            George Dorris (Editor); Thomas
                               Dance
17                                                                F. Kelly (Contribution by)

18                             Encyclopedia of Women in           Diane Apostolos-Cappadona
       4 9780826409157
                               Religious Art                      (Editor)
19
                               Encyclopedia of Genocide and
       5 9780028658506                                            Dinah Shelton
20                             Crimes Against Humanity

21     6 9780816049196         Historical Atlas of the Crusades   Angus Konstam
22     7 9780415188265         The State of Germany Atlas         Bernhard Schafers
23                             Rand Mcnally Goode's World
       8 9780528877537                                            Rand McNally Staff
                               Atlas
24
       9 9780762105106         Illustrated Atlas of the World     Reader's Digest Editors
25
      10 9780816052196         Historical Atlas of the Holy Lands Karen Farrengton
26

27    11 9780933146389         Basic ESL Textbook                 C. Sesma

28    12 9780198775768         The Oxford Textbook of             Keith Blois
                                                 - 35 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                No. 3:24-CV-05417-WHA
1
                                    Marketing
2
                                    A Textbook of Holistic
       13 9780748715510                                                 W. E. Arnould-Taylor
3                                   Aromatherapy

4      14 9780972151146             Success Dynamics Textbook           Geno Stampora

5      15 9780444865892             Economics of Organization           J.D. Hess

6           C.       The datasets appear to have many books that were first published between
7                    1926 and 1963.
8              93.   There is no metadata showing the first publication date in any of the datasets.
9              94.   However, I performed searches to identify possible evidence of a number of books
10    in each of the datasets published between 1926 and 1963. To conduct this analysis, I used the
11    Goodreads Best Books of the Decade: 1940s 35 and Goodreads best books of the Decade: 1920s 36
12    lists. I confirmed that each books’ listed publication date on Goodreads fell between 1926 and
13    1963, filtering out 13 books from the 1920s list that did not, then searched for each of the
14    remaining first 25 books on this list in all four datasets using the search procedures described
15    above.
16             95.   Of the 37 books, all published between 1926 and 1963 (with 25 published in the
17    1940s and 12 published between 1926 and 1930), I found potential matches to 33 of them in
18    Anthropic’s           Dataset, all 37 in Anthropic’s         Dataset, 31 in Anthropic’s
19    Dataset, and all 37 in the                 Dataset. The following tables list the results of these
20    searches.
21

22
                                                  Publication
               Author              Title
23                                                  Date

24     1 George           1984                  1949

25
      35
26       Best Books of the Decade: 1940s, goodreads.com, (last visited Apr. 15, 2025), available at
      https://www.goodreads.com/list/show/23.Best_Books_of_the_Decade_1940s.
27
      36
        Best Books of the Decade: 1920s, goodreads.com, (last visited Apr. 15, 2025), available at
28    https://www.goodreads.com/list/show/39.Best_Books_of_the_Decade_1920s.
                                                  - 36 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                   No. 3:24-CV-05417-WHA
1
           Orwell
2
           George
      2                 Animal Farm         1945
3          Orwell

4                       The Diary of a
      3 Anne Frank                          1947
                        Young Girl
5
        Antoine de
6     4 Saint-          The Little Prince   1943
        Exupéry
7

8     5 Albert Camus The Stranger           1942
9

10         Tennessee    A Streetcar Named
      6                                   1947
           Williams     Desire
11

12
           Ernest       For Whom the Bell
13    7                                   1940
           Hemingway    Tolls
14

15         Astrid       Pippi
      8                                     1945
           Lindgren     Longstocking
16

17

18                      Death of a
      9 Arthur Miller                       1949
                        Salesman
19

20
                        A Tree Grows in
21    10 Betty Smith                        1943
                        Brooklyn
22

23
      11 Albert Camus The Plague            1947
24

25
           Margaret
      12              Goodnight Moon        1947
26         Wise Brown

27         Evelyn       Brideshead
      13                                    1945
           Waugh        Revisited
28
                                                   - 37 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                    No. 3:24-CV-05417-WHA
1

2
                       The Screwtape
3    14 C.S. Lewis                        1942
                       Letters
4

5         Carson       The Heart is a
     15                                   1940
          McCullers    Lonely Hunter
6

7
          John
     16                Cannery Row        1945
8         Steinbeck

9

10        John
     17                The Pearl          1947
          Steinbeck
11

12                     I Capture the
     18 Dodie Smith                       1948
13                     Castle

14                     Cry, the Beloved
     19 Alan Paton                        1948
                       Country
15

16   20 John Hersey Hiroshima             1946

17
     21 Ayn Rand       The Fountainhead 1943
18

19        Jorge Luis
     22                Ficciones          1944
          Borges
20

21
          Tennessee    The Glass
22   23                                   1945
          Williams     Menagerie
23

24
          Robert       Make Way for
     24                                   1941
25        McCloskey    Ducklings

26
                       The Chronicles of
     25 C.S. Lewis                       1956
27                     Narnia

28
                                                 - 38 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                  No. 3:24-CV-05417-WHA
1

2    26 A.A. Milne      Winnie-the-Pooh    1926

3

4         Erich Maria   All Quiet on the
     27                                    1928
          Remarque      Western Front
5

6
          Ernest        The Sun Also
7    28                                    1926
          Hemingway     Rises
8
          William       The Sound and the
9    29                                   1929
          Faulkner      Fury
10

11

12        Ernest        A Farewell to
     30                                    1929
          Hemingway     Arms
13

14

15
          Virginia
     31                 To the Lighthouse 1927
16        Woolf

17

18        Hermann
     32                 Steppenwolf        1927
          Hesse
19

20        Agatha        The Murder of
     33                                    1926
          Christie      Roger Ackroyd
21

22        Virginia      A Room of One’s
     34                                 1929
23        Woolf         Own

24
          D.H.          Lady Chatterley’s
25   35                                   1928
          Lawrence      Lover
26
          Virginia
27   36                 Orlando            1928
          Woolf
28
                                                  - 39 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                   No. 3:24-CV-05417-WHA
1

2                          Death Comes for
     37 Willa Cather                           1927
                           the Archbishop
3

4

5

6
                                             Publicati
7          Author           Title
                                             on Date
8          George
      1                    1984          1949
9          Orwell

10         George
      2                    Animal Farm 1945
           Orwell
11
                           The Diary of a
      3    Anne Frank                     1947
12                         Young Girl

13         Antoine de    The Little
      4                                  1943
           Saint-Exupéry Prince
14

15    5    Albert Camus The Stranger 1942

16         Tennessee       A Streetcar
      6                                 1947
17         Williams        Named Desire

18         Ernest          For Whom the
      7                                 1940
           Hemingway       Bell Tolls
19
           Astrid          Pippi
20    8                                 1945
           Lindgren        Longstocking
21                         Death of a
      9    Arthur Miller                 1949
                           Salesman
22
                           A Tree Grows
23    10 Betty Smith                    1943
                           in Brooklyn
24
      11 Albert Camus The Plague         1947
25

26         Margaret   Goodnight
      12                                 1947
           Wise Brown Moon
27
      13 Evelyn            Brideshead    1945
28
                                                         - 40 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                          No. 3:24-CV-05417-WHA
1
           Waugh         Revisited
2
                         The
3     14 C.S. Lewis      Screwtape      1942
                         Letters
4
           Carson        The Heart is a
5     15                                1940
           McCullers     Lonely Hunter
6          John
      16                 Cannery Row 1945
           Steinbeck
7
           John
8     17                 The Pearl      1947
           Steinbeck
9
                         I Capture the
      18 Dodie Smith                   1948
10                       Castle

11                       Cry, the
      19 Alan Paton      Beloved        1948
12                       Country
13
      20 John Hersey     Hiroshima      1946
14

15                       The
      21 Ayn Rand                     1943
                         Fountainhead
16
           Jorge Luis
      22                 Ficciones      1944
17         Borges

18         Tennessee     The Glass
      23                                1945
           Williams      Menagerie
19
           Robert        Make Way for
20    24                              1941
           McCloskey     Ducklings
21                       The
22    25 C.S. Lewis      Chronicles of 1956
                         Narnia
23
                         Winnie-the-
      26 A.A. Milne                     1926
24                       Pooh

25                       All Quiet on
           Erich Maria
      27                 the Western    1928
26         Remarque
                         Front
27         Ernest        The Sun Also
      28                              1926
           Hemingway     Rises
28
                                               - 41 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                No. 3:24-CV-05417-WHA
1
           William       The Sound
      29                                  1929
2          Faulkner      and the Fury

3          Ernest        A Farewell to
      30                               1929
           Hemingway     Arms
4
           Virginia      To the
5     31                                  1927
           Woolf         Lighthouse
6          Hermann
      32                 Steppenwolf      1927
           Hesse
7
                         The Murder of
8        Agatha
      33                 Roger         1926
         Christie
9                        Ackroyd

10         Virginia      A Room of
      34                                  1929
           Woolf         One’s Own
11
                         Lady
12       D.H.
      35                 Chatterley’s     1928
         Lawrence
                         Lover
13
           Virginia
14    36                 Orlando          1928
           Woolf
15
                      Death Comes
16    37 Willa Cather for the     1927
                      Archbishop
17

18

19
                                                  Publication
20         Author         Title
                                                    Date
21         George
      1                  1984                    1949
22         Orwell

23         George
      2                  Animal Farm             1945
           Orwell
24
                         The Diary of a
      3    Anne Frank                            1947
25                       Young Girl
26         Antoine de
      4                  The Little Prince       1943
           Saint-Exupéry
27
      5    Albert Camus The Stranger             1942
28
                                                    - 42 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                        No. 3:24-CV-05417-WHA
1

2
           Tennessee    A Streetcar Named
      6                                   1947
3          Williams     Desire

4          Ernest       For Whom the Bell
      7                                   1940
           Hemingway    Tolls
5
           Astrid
6     8                 Pippi Longstocking 1945
           Lindgren
7     9    Arthur Miller Death of a Salesman 1949
8                       A Tree Grows in
      10 Betty Smith                        1943
9                       Brooklyn

10    11 Albert Camus The Plague            1947
11
           Margaret
      12              Goodnight Moon        1947
12         Wise Brown

13         Evelyn       Brideshead
      13                                    1945
           Waugh        Revisited
14
                        The Screwtape
15    14 C.S. Lewis                         1942
                        Letters
16         Carson       The Heart is a
      15                                    1940
17         McCullers    Lonely Hunter

18         John
      16                Cannery Row         1945
           Steinbeck
19
           John
      17                The Pearl           1947
20         Steinbeck
21
      18 Dodie Smith I Capture the Castle 1948
22
                        Cry, the Beloved
23    19 Alan Paton                         1948
                        Country
24
      20 John Hersey    Hiroshima           1946
25

26    21 Ayn Rand       The Fountainhead    1943
27
      22 Jorge Luis     Ficciones           1944
28
                                                - 43 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                 No. 3:24-CV-05417-WHA
1
           Borges
2
           Tennessee     The Glass
      23                                     1945
3          Williams      Menagerie

4          Robert        Make Way for
      24                                     1941
           McCloskey     Ducklings
5
                         The Chronicles of
6     25 C.S. Lewis                          1956
                         Narnia
7
      26 A.A. Milne      Winnie-the-Pooh     1926
8

9          Erich Maria   All Quiet on the
      27                                     1928
           Remarque      Western Front
10
           Ernest
      28                 The Sun Also Rises 1926
11         Hemingway

12         William       The Sound and the
      29                                     1929
           Faulkner      Fury
13
           Ernest
14    30                 A Farewell to Arms 1929
           Hemingway
15         Virginia
      31                 To the Lighthouse   1927
16         Woolf

17         Hermann
      32                 Steppenwolf         1927
           Hesse
18
           Agatha        The Murder of
      33                                     1926
19         Christie      Roger Ackroyd
20         Virginia      A Room of One’s
      34                                     1929
           Woolf         Own
21
           D.H.          Lady Chatterley’s
22    35                                     1928
           Lawrence      Lover
23
           Virginia
      36                 Orlando             1928
24         Woolf

25                       Death Comes for the
      37 Willa Cather                        1927
                         Archbishop
26

27

28
                                                - 44 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                 No. 3:24-CV-05417-WHA
1

2                                             Publication
           Author         Title                             ISBN in
3                                               Date

4          George
      1                  1984                1949
           Orwell                                           9780451524935
5
           George
      2                  Animal Farm         1945
6          Orwell                                           9780140008388
7                        The Diary of a
      3    Anne Frank                        1947
                         Young Girl                         9780553296983
8
           Antoine de
9     4                  The Little Prince   1943
           Saint-Exupéry                                    9780590129275
10
      5    Albert Camus The Stranger         1942           9780394700021
11
           Tennessee     A Streetcar Named
      6                                    1947
12         Williams      Desire                             9780451121806

13         Ernest        For Whom the Bell
      7                                    1940
           Hemingway     Tolls                              9781856191524
14
           Astrid
15    8                  Pippi Longstocking 1945
           Lindgren                                         9780590016551
16    9    Arthur Miller Death of a Salesman 1949           9780881030174
17                       A Tree Grows in
      10 Betty Smith                         1943
                         Brooklyn                           9780060801267
18

19    11 Albert Camus The Plague             1947           9780822010395

20         Margaret
      12              Goodnight Moon         1947
           Wise Brown                                       9780060207052
21
           Evelyn        Brideshead
      13                                     1945
22         Waugh         Revisited                          9780679423003

23                       The Screwtape
      14 C.S. Lewis                          1942
                         Letters                            9780020867401
24
           Carson        The Heart is a
25    15                                     1940
           McCullers     Lonely Hunter                      9780395079782
26         John
      16                 Cannery Row         1943
27         Steinbeck                                        9780330241458

28    17 John            The Pearl           1945           9780670545759
                                                 - 45 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                              No. 3:24-CV-05417-WHA
1
           Steinbeck
2
      18 Dodie Smith I Capture the Castle 1948           9781860491023
3
                         Cry, the Beloved
      19 Alan Paton                          1948
4                        Country                         9780684718637

5     20 John Hersey     Hiroshima           1946        9780394548449

6     21 Ayn Rand        The Fountainhead    1943        9780451175120
7          Jorge Luis
      22                 Ficciones           1944
           Borges                                        9780679422990
8
           Tennessee     The Glass
9     23                                     1945
           Williams      Menagerie                       9780451166364
10
           Robert        Make Way for
      24                                     1941
11         McCloskey     Ducklings                       9780670451494

12                       The Chronicles of
      25 C.S. Lewis                          1956
                         Narnia                          9780590254793
13
      26 A.A. Milne      Winnie-the-Pooh     1926        9780140361216
14
           Erich Maria   All Quiet on the
15    27                                     1928
           Remarque      Western Front                   9780316739924
16         Ernest
      28                 The Sun Also Rises 1926
           Hemingway                                     9781555460457
17
           William       The Sound and the
18    29                                   1929
           Faulkner      Fury                            9780394700052
19
           Ernest
      30                 A Farewell to Arms 1929
20         Hemingway                                     9780586044711

21         Virginia
      31                 To the Lighthouse   1927
           Woolf                                         9780586044506
22
           Hermann
23    32                 Steppenwolf         1927
           Hesse                                         9780030121357
24         Agatha        The Murder of
      33                                     1926
           Christie      Roger Ackroyd                   9780553350012
25

26         Virginia      A Room of One’s
      34                                     1929
           Woolf         Own                             9780156787338
27
      35 D.H.            Lady Chatterley’s   1928        9780451522474
28
                                                - 46 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                           No. 3:24-CV-05417-WHA
1
               Lawrence           Lover
2
               Virginia
       36                         Orlando             1928
3              Woolf                                                  9780932986399

4                                 Death Comes for the
       37 Willa Cather                                1927
                                  Archbishop                          9780896215061
5

6                96.      These results were found by a targeted search for evidence of particular books

7     published between 1926 and 1963, and do not represent a complete accounting of possible

8     evidence of books published in this period in the book datasets. Nonetheless, I believe it is

9     reasonable to conclude that there are many possible books in all four datasets that were published

10    between 1926 and 1963.

11              D.        The datasets have many books that were first published between 1963 and

12                        1989.

13               97.      I also performed searches to identify possible evidence of a number of books in each

14    of the four datasets published between 1963 and 1989. To conduct this analysis, I used the

15    Goodreads Best Books of the Decade: 1970s list. 37 I searched for each of the first 25 books on this

16    list in all four datasets using the search procedures described above.

17               98.      Of the 25 books, all published between 1963 and 1989, I found potential matches to

18    15 of them in Anthropic’s                   ataset, 22 in Anthropic’s        Dataset, 21 in Anthropic’s

19               Dataset, and all 25 in Anthropic’s                     Dataset, as follows:

20

21                                                   Publication
                 Author                   Title
                                                        Date
22

23
                               The Hitchhiker’s
           1                                        1979
24             Douglas         Guide to the
               Adams           Galaxy
25
               Richard
26         2                                        1972
               Adams           Watership Down
27
      37
         Best Books of the Decade: 1970s, goodreads.com, (last visited Apr. 15, 2025), available at
28    https://www.goodreads.com/list/show/21.
                                                  - 47 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                    No. 3:24-CV-05417-WHA
1

2
           Stephen
       3                                      1978
3          King          The Stand

4          Stephen
       4                                      1977
           King          The Shining
5

6
       5                                      1973
           William
7
           Goldman       The Princess Bride
8

9      6                                      1976
                         Interview with the
10         Anne Rice     Vampire
11         Shel          Where the
       7                                      1974
           Silverstein   Sidewalk Ends
12
                       The World
13     8                                 1978
           John Irving According to Garp
14
           Colleen
       9                                      1977
15         McCullough The Thorn Birds

16         Stephen
      10                                      1974
           King          Carrie
17
           James
18    11                                      1975
           Clavell       Shogun
19                    Roots: The Saga of
      12              an American        1976
20
           Alex Haley Family
21

22    13 Stephen                              1975
         King            Salem's Lot
23

24    14                                      1971
           Dr. Seuss     The Lorax
25                       Fear and Loathing
                         in Las Vegas: A
26    15                 Savage Journey to 1971
27         Hunter S.     the Heart of the
           Thompson      American Dream
28
                                                     - 48 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                      No. 3:24-CV-05417-WHA
1
           Katherine   Bridge to
      16                                   1977
2          Paterson    Terabithia

3          James       All Creatures Great
      17                                   1972
           Herriot     and Small
4
           Michael     The Neverending
5     18                                   1979
           Ende        Story
6
      19 J.R.R.                            1977
7        Tolkein       The Silmarillion

8          William
      20                                   1971
           Peter Blatty The Exorcist
9
           William
10    21                                   1979
           Styron      Sophie's Choice
11

12    22 Kurt          Breakfast of        1973
         Vonnegut      Champions
13
           John Le     Tinker, Tailor,
      23                                   1974
14         Carré       Soldier, Spy

15                 Bury My Heart at
                   Wounded Knee:
16    24           An Indian History 1970
                   of the American
17
         Dee Brown West
18
           Beatrice
      25                                   1971
19         Sparks      Go Ask Alice

20

21

22                                          Publication
             Author            Title
                                              Date
23
                        The Hitchhiker’s
24     1 Douglas        Guide to the       1979            Fiction
25       Adams          Galaxy

26         Richard
       2                                   1972            Fiction
           Adams        Watership Down
27
       3 Stephen King The Stand            1978            Fiction
28
                                                  - 49 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                             No. 3:24-CV-05417-WHA
1

2
       4                                      1977            Fiction
3          Stephen King The Shining
4          William
       5                                      1973            Fiction
           Goldman       The Princess Bride
5
                         Interview with the
6      6                                    1976              Fiction
           Anne Rice     Vampire
7
           Shel          Where the
       7                                      1974            Fiction
8          Silverstein   Sidewalk Ends

9                        The World
       8                                   1978               Fiction
           John Irving   According to Garp
10
           Colleen
11     9                                      1977            Fiction
           McCullough The Thorn Birds
12
      10                                      1974            Fiction
           Stephen King Carrie
13

14    11                                      1975            Fiction
           James Clavell Shogun
15
                         Roots: The Saga of
16    12                 an American        1976              Fiction
           Alex Haley    Family
17

18    13                                      1975            Fiction
           Stephen King Salem's Lot
19
      14                                      1971            Fiction
           Dr. Seuss     The Lorax
20
                         Fear and Loathing
21
                         in Las Vegas: A
22    15                 Savage Journey to 1971               Fiction
           Hunter S.     the Heart of the
23         Thompson      American Dream
24         Katherine     Bridge to
      16                                      1977            Fiction
           Paterson      Terabithia
25
                         All Creatures
26    17                                      1972            Fiction
           James Herriot Great and Small
27
                        The Neverending
      18                                1979                  Fiction
28         Michael Ende Story
                                                     - 50 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                No. 3:24-CV-05417-WHA
1
      19 J.R.R.                               1977             Fiction
2        Tolkein         The Silmarillion
3          William Peter
      20                                      1971             Fiction
           Blatty        The Exorcist
4

5          William
      21                                      1979             Fiction
           Styron        Sophie's Choice
6
           Kurt          Breakfast of
      22                                      1973             Fiction
7          Vonnegut      Champions

8                        Tinker, Tailor,
      23                                      1974             Fiction
           John Le Carré Soldier, Spy
9
                         Bury My Heart at
10                       Wounded Knee:
      24                 An Indian History 1970                Fiction
11
                         of the American
12         Dee Brown     West

13         Beatrice
      25                                      1971             Fiction
           Sparks        Go Ask Alice
14

15

16
                                                     Publication
17            Author              Title
                                                       Date
18
           Douglas       The Hitchhiker’s
       1                                     1979
19         Adams         Guide to the Galaxy

20         Richard
       2                                        1972
           Adams         Watership Down
21

22     3                                        1978
           Stephen King The Stand
23
       4                                        1977
           Stephen King The Shining
24
           William
25     5                                        1973
           Goldman       The Princess Bride
26
                         Interview with the
       6                                        1976
27         Anne Rice     Vampire

28
                                                      - 51 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                 No. 3:24-CV-05417-WHA
1
           Shel          Where the Sidewalk
       7                                    1974
2          Silverstein   Ends

3                        The World
       8                                        1978
           John Irving   According to Garp
4
           Colleen
5      9                                        1977
           McCullough The Thorn Birds
6
      10                                        1974
           Stephen King Carrie
7

8     11                                        1975
           James Clavell Shogun
9
                         Roots: The Saga of
      12                                    1976
10         Alex Haley    an American Family

11    13                                        1975
           Stephen King Salem's Lot
12

13    14                                        1971
           Dr. Seuss     The Lorax
14                       Fear and Loathing in
15                       Las Vegas: A Savage
      15                 Journey to the Heart 1971
16         Hunter S.     of the American
           Thompson      Dream
17
           Katherine
18    16                                        1977
           Paterson      Bridge to Terabithia
19                       All Creatures Great
      17                                        1972
           James Herriot and Small
20
                        The Neverending
21    18                                        1979
           Michael Ende Story
22
      19 J.R.R.                                 1977
23       Tolkein         The Silmarillion
24         William Peter
      20                                        1971
25         Blatty        The Exorcist

26         William
      21                                        1979
           Styron        Sophie's Choice
27
      22 Kurt            Breakfast of           1973
28
                                                   - 52 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                    No. 3:24-CV-05417-WHA
1
           Vonnegut      Champions
2
                         Tinker, Tailor,
      23                                      1974
3          John Le Carré Soldier, Spy

4                        Bury My Heart at
                         Wounded Knee: An
5     24                                       1970
                         Indian History of the
           Dee Brown     American West
6
           Beatrice
7     25                                      1971
           Sparks        Go Ask Alice
8

9

10
                                                Publication
              Author             Title                        ISBN in
11                                                Date
12         Douglas       The Hitchhiker’s
       1                                     1979             9780330258647
           Adams         Guide to the Galaxy
13
           Richard
14     2                                      1972            9780380395866
           Adams         Watership Down
15
       3 Stephen King The Stand               1978            9780451139719
16
       4 Stephen King The Shining             1977            9780451160911
17
           William
       5                                      1973            9780345301147
18         Goldman       The Princess Bride

19                       Interview with the
       6                                      1976            9780345337665
           Anne Rice     Vampire
20
           Shel          Where the Sidewalk
21     7                                    1974              9780060256685
           Silverstein   Ends
22                       The World
       8                                      1978            9780525237709
23         John Irving   According to Garp

24         Colleen
       9                                      1977            9780060129569
           McCullough The Thorn Birds
25
      10 Stephen King Carrie                  1974            9781856953184
26
      11 James Clavell Shogun                 1975            9780440178002
27
      12 Alex Haley      Roots: The Saga of   1976            9780385037877
28
                                                 - 53 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                No. 3:24-CV-05417-WHA
1
                            an American Family
2
      13 Stephen King Salem's Lot                  1975             9780451168085
3
      14 Dr. Seuss          The Lorax              1971             9780394823379
4
                            Fear and Loathing in
5                           Las Vegas: A Savage
      15                    Journey to the Heart 1971               9780679724193
6          Hunter S.        of the American
7          Thompson         Dream

8          Katherine
      16                                           1977             9780380432813
           Paterson         Bridge to Terabithia
9
                         All Creatures Great
      17                                           1972             9780553204346
10         James Herriot and Small
11                      The Neverending
      18                                           1979             9780140074314
           Michael Ende Story
12

13    19 J.R.R.                                    1977             9780345272553
         Tolkein            The Silmarillion
14
           William Peter
15    20                                           1971             9780061007224
           Blatty        The Exorcist
16         William
      21                                           1979             9780394461090
           Styron           Sophie's Choice
17
           Kurt             Breakfast of
18    22                                           1973             9780440131489
           Vonnegut         Champions
19
                         Tinker, Tailor,
      23                                           1974             9781444705652
20         John Le Carré Soldier, Spy

21                          Bury My Heart at
                            Wounded Knee: An
22    24                                          1970              9780330245692
                            Indian History of the
           Dee Brown        American West
23
           Beatrice
24    25                                           1971             9780380005239
           Sparks           Go Ask Alice
25

26          99.       These results were found by a targeted search for evidence of particular books

27   published between 1963 and 1989, and do not represent a complete accounting of possible

28   evidence of books published in this period in the book datasets. Nonetheless, I believe it is
                                                      - 54 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                      No. 3:24-CV-05417-WHA
1     reasonable to conclude that there are many possible books in all four datasets that were published

2     between 1963 and 1989.

3             E.      The datasets appear to contain many books likely written by foreign authors.

4              100. There is no metadata showing the nationality of the authors in any of the Internet

5     Books Datasets.

6              101. However, I performed searches to identify possible evidence of a number of books

7     in each of the four datasets written by foreign authors. I used the Goodreads Non American Books

8     that Every American Should Read 38 list for this search. I searched for each of the first 20 books

9     on this list written by authors who I believe, based on publicly-available information, lived into

10    the 2000s and are foreign authors in all four datasets using the search procedures described above.

11    I additionally looked for corroborating publicly-available information about each author’s

12    nationality by searching for the author’s Wikipedia page and noting all listed nationalities. 39

13             102. Of the 20 books, all written by individuals, whose authors may be nationals of

14    countries other than the United States, I found 17 of them in                               , 19 in

15                                    , 18 in                          , and 19 in the

16             , as follows:

17

18
                   Title            Author         Nationality
19

20         1 Disgrace          J.M. Coetzee     South Africa
21
             A Long Way
22         2 Gone:        Ishmael Beah          Sierra Leone
             Memoirs of a
23

24    38
         Non American Books that Every American Should Read, goodreads.com (last visited Apr. 15,
      2025), available at
25
      https://www.goodreads.com/list/show/5534.Non_American_books_that_every_American_should
26    _read.
      39
         One author from the Goodreads list, Ashok Kallarakkal, does not have a Wikipedia page. His
27    Amazon author biography page notes that he is a resident of India.
      40
         For readability, I omit the “.epub.txt” that concludes each file name in the provided
28    dataset from these tables.
                                                       - 55 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                      No. 3:24-CV-05417-WHA
1
           Boy Soldier
2

3          The God of
       3                Arundhati Roy      India
4          Small Things

5
           Things Fall
6      4                 Chinua Achebe     Nigeria
           Apart
7

8          Half of a     Chimamanda
       5                                   Nigeria
           Yellow Sun    Ngozi Adicheie
9

10
       6 Persepolis      Marjane Satrapi   Iran, France
11

12
           A Fine
13     7                 Rohinton Mistry   Canada
           Balance
14
           Long Walk to
       8                Nelson Mandela     South Africa
15         Freedom

16
       9 Atonement       Ian McEwan        UK
17
           The Tin
18    10                 Gunter Grass      Germany
           Drum
19    11 Life of Pi      Yann Martel       Canada
20
         The No. 1
21       Ladies'         Alexander McCall
      12                                  UK
         Detective       Smith
22       Agency

23    13 Little Bee      Chris Cleave      UK
24
           The Name of
25    14               Umberto Eco         Italy
           the Rose
26
           The Book                        Germany,
27    15                 Markus Zusak
           Thief                           Australia
28
                                                   - 56 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                    No. 3:24-CV-05417-WHA
1

2

3        The Girl With
      16 the Dragon Steig Larsson            Sweden
4
         Tattoo
5

6          The God
      17                 Richard Dawkins     UK
           Delusion
7

8
           Norwegian
9     18                 Haruki Murakami Japan
           Wood
10

11         The Shadow
      19               Carlos Ruiz Zafon Spain
           of the Wind
12

13         Curiosity kills
      20                   Ashok Kallarakkal India
           the KatHA
14

15

16
           Title          Author         Nationality
17

18     1 Disgrace        J.M. Coetzee South Africa
19
         A Long Way
20       Gone:
       2              Ishmael Beah Sierra Leone
         Memoirs of a
21       Boy Soldier
22         The God of Arundhati
       3                                India
23         Small Things Roy

24         Things Fall   Chinua
       4                                Nigeria
           Apart         Achebe
25
                         Chimamanda
           Half of a
26     5                 Ngozi      Nigeria
           Yellow Sun
                         Adicheie
27
       6 Persepolis      Marjane        Iran, France
28
                                                     - 57 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                      No. 3:24-CV-05417-WHA
1
                          Satrapi
2
           A Fine         Rohinton
       7                                 Canada
3          Balance        Mistry

4          Long Walk to Nelson
       8                                 South Africa
           Freedom      Mandela
5

6      9 Atonement        Ian McEwan UK

7
      10 The Tin Drum Gunter Grass Germany
8

9     11 Life of Pi       Yann Martel Canada
10
         The No. 1
11       Ladies'          Alexander
      12                               UK
         Detective        McCall Smith
12       Agency
13
      13 Little Bee       Chris Cleave UK
14

15         The Name of
      14               Umberto Eco Italy
           the Rose
16
           The Book                      Germany,
      15                  Markus Zusak
17         Thief                         Australia

18       The Girl With
      16 the Dragon    Steig Larsson Sweden
19       Tattoo
20         The God        Richard
      17                                 UK
           Delusion       Dawkins
21

22         Norwegian      Haruki
      18                                 Japan
           Wood           Murakami
23
           The Shadow Carlos Ruiz
      19                                 Spain
24         of the Wind Zafon

25         Curiosity kills Ashok
      20                                 India
           the KatHA       Kallarakkal
26

27

28
                                                     - 58 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                      No. 3:24-CV-05417-WHA
1

2          Title         Author           Nationality
3
       1 Disgrace        J.M. Coetzee    South Africa
4

5        A Long Way
         Gone:
       2              Ishmael Beah       Sierra Leone
6        Memoirs of a
         Boy Soldier
7
           The God of
8      3                Arundhati Roy    India
           Small Things
9          Things Fall
       4                 Chinua Achebe Nigeria
10         Apart

11         Half of a     Chimamanda
       5                                Nigeria
           Yellow Sun    Ngozi Adicheie
12
       6 Persepolis      Marjane Satrapi Iran, France
13

14         A Fine
       7                 Rohinton Mistry Canada
           Balance
15
           Long Walk to
16     8                Nelson Mandela South Africa
           Freedom
17
       9 Atonement       Ian McEwan      UK
18

19    10 The Tin Drum Gunter Grass       Germany

20    11 Life of Pi      Yann Martel     Canada
21
         The No. 1
22       Ladies'         Alexander
      12                                 UK
         Detective       McCall Smith
23       Agency
24
      13 Little Bee      Chris Cleave    UK
25

26         The Name of
      14               Umberto Eco       Italy
           the Rose
27
      15 The Book        Markus Zusak    Germany,
28
                                                  - 59 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                   No. 3:24-CV-05417-WHA
1
           Thief                            Australia
2
         The Girl With
3     16 the Dragon    Steig Larsson        Sweden
         Tattoo
4
           The God        Richard
5     17                                    UK
           Delusion       Dawkins
6          Norwegian      Haruki
      18                                    Japan
           Wood           Murakami
7
           The Shadow Carlos Ruiz
8     19                                    Spain
           of the Wind Zafon
9
           Curiosity kills Ashok
      20                                    India
10         the KatHA       Kallarakkal

11

12
           Title           Author             Nationality      ISBN in              Metadata
13
       1 Disgrace         J.M. Coetzee        South Africa     9780670887316
14
         A Long Way
15       Gone:
       2              Ishmael Beah            Sierra Leone     9780374105235
         Memoirs of a
16       Boy Soldier
17         The God of
       3                Arundhati Roy         India            9780783882963
           Small Things
18
           Things Fall
19     4                  Chinua Achebe       Nigeria          9780435900014
           Apart
20
           Half of a      Chimamanda
       5                                      Nigeria          9781400044160
21         Yellow Sun     Ngozi Adicheie

22     6 Persepolis       Marjane Satrapi     Iran, France     9780375422300

23         A Fine
       7                  Rohinton Mistry     Canada           9780771060526
           Balance
24
           Long Walk to
25     8                Nelson Mandela        South Africa     9780316545853
           Freedom
26     9 Atonement        Ian McEwan          UK               9780887846410
27
           The Tin
      10                  Gunter Grass        Germany          9780394703008
28         Drum
                                                      - 60 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                 No. 3:24-CV-05417-WHA
1
      11 Life of Pi      Yann Martel         Canada           9780547848419
2
         The No. 1
3        Ladies'         Alexander McCall
      12                                  UK                  9780748662524
         Detective       Smith
4        Agency
5     13 Little Bee      Chris Cleave        UK               9781416589648
6
           The Name of
      14               Umberto Eco           Italy            9780151446476
7          the Rose

8          The Book                          Germany,
      15                 Markus Zusak                         9780375831003
           Thief                             Australia
9

10       The Girl With
      16 the Dragon Steig Larsson            Sweden           9781847246929
11       Tattoo

12         The God
      17                 Richard Dawkins     UK               9780593055489
           Delusion
13
           Norwegian
14    18                 Haruki Murakami Japan                9780375704024
           Wood
15         The Shadow
      19               Carlos Ruiz Zafon Spain                9780752859545
           of the Wind
16

17         Curiosity kills
      20                   Ashok Kallarakkal India             Not Found
           the KatHA
18

19          I declare under penalty of perjury under the laws of the United States of America that the
20   foregoing is true and correct. Executed on April 17, 2025 in Clarksville, Maryland.
21

22

23
                                                      ______________________________
24                                                    MOHIT IYYER
25

26

27

28
                                                     - 61 -
     IYYER DECL. ISO OPP. TO CLASS CERT.                                   No. 3:24-CV-05417-WHA
                                     EXHIBIT A
                                  Mohit Iyyer
                                      miyyer@cs.umass.edu
                                  http://cs.umass.edu/∼miyyer

Academic Appointments

    University of Massachusetts, Amherst
    Associate Professor, Computer Science                               2023 — present
    Assistant Professor, Computer Science                                 2018 — 2023
    Research Interests: natural language processing, machine learning

Education

    University of Maryland, College Park                                  2012 — 2017
    Ph.D. in Computer Science
    Master of Science, Computer Science, 2012 - 2014
    Washington University in St. Louis                                    2008 — 2012
    BS in Computer Science
    Minors: Bioinformatics & Creative Writing

Research & Professional Experience

    Postdoctoral Researcher, Allen Institute for AI                       2017 — 2018
    Supervisors: Luke Zettlemoyer, Scott Yih

    Research Assistant, University of Maryland, College Park              2013 — 2017
    Advisors: Jordan Boyd-Graber, Hal Daumé III

    Research Intern, NLP Group, Microsoft Research, Redmond              Summer 2016
    Supervisors: Scott Yih, Ming-Wei Chang

    Research Intern, MetaMind                                              Spring 2015
    Supervisor: Richard Socher

Awards
    Distinguished Paper Award, ACM CCS 2023
    Outstanding Paper Award, EACL 2023
    Samsung AI Researcher of the Year Award, 2022
    NSF CAREER Award, 2021
    Best Long Paper Award, NAACL 2018
    Larry S. Davis Doctoral Dissertation Award, 2017
    Best Long Paper Award, NAACL 2016
    Best Demonstration Award, NeurIPS 2015




                                               1
Conference Publications

As of December 2024, my papers have been cited over 27K times (h-index 42) according to my Google Scholar
profile. ACL, NAACL, EMNLP, ICML, NeurIPS, CVPR, and ICLR are peer reviewed conferences with acceptance
rates typically around 25-30%.

  1. Marzena Karpinska, Katherine Thai, Kyle Lo, Tanya Goyal, Mohit Iyyer. One Thousand and
     One Pairs: A ”novel” challenge for long-context language models. EMNLP 2024.

  2. Yapei Chang, Kalpesh Krishna, Amir Houmansadr, John Wieting, Mohit Iyyer. PostMark: A
     Robust Blackbox Watermark for Large Language Models. EMNLP 2024.

  3. Yixiao Song, Yekyung Kim, Mohit Iyyer. VERISCORE: Evaluating the factuality of verifiable
     claims in long-form text generation. Findings of EMNLP 2024.

  4. Chau Minh Pham, Simeng Sun, Mohit Iyyer. Suri: Multi-constraint Instruction Following for
     Long-form Text Generation. Findings of EMNLP 2024.

  5. Yekyung Kim, Yapei Chang, Marzena Karpinska, Aparna Garimella, Varun Manjunatha, Kyle
     Lo, Tanya Goyal, Mohit Iyyer. FABLES: Evaluating faithfulness and content selection in book-
     length summarization. COLM 2024.

  6. Ali Naseh, Katherine Thai, Mohit Iyyer, Amir Houmansadr. Iteratively Prompting Multimodal
     LLMs to Reproduce Natural and AI-Generated Images. COLM 2024.

  7. Jiachen Zhao, Wenlong Zhao, Andrew Drozdov, Benjamin Rozonoyer, Md Arafat Sultan, Jay-
     Yoon Lee, Mohit Iyyer, Andrew McCallum. Multistage Collaborative Knowledge Distillation
     from a Large Language Model for Semi-Supervised Sequence Generation. ACL 2024.

  8. Tu Vu, Mohit Iyyer, Xuezhi Wang, Noah Constant, Jerry Wei, Jason Wei, Chris Tar, Yun-Hsuan
     Sung, Denny Zhou, Quoc Le, Thang Luong. FreshLLMs: Refreshing Large Language Models with
     Search Engine Augmentation. Findings of ACL 2024.

  9. Chau Pham, Alexander Hoyle, Simeng Sun, Mohit Iyyer. TopicGPT: A Prompt-based Topic
     Modeling Framework. NAACL 2024.

 10. Yixiao Song, Kalpesh Krishna, Rajesh Bhatt, Kevin Gimpel, Mohit Iyyer. GEE! Grammar
     Error Explanation with Large Language Models. Findings of NAACL 2024.

 11. Prasanna Lakkur Subramanyam, Mohit Iyyer, Brian Levine. Triage of Messages and Conversa-
     tions in a Large-Scale Child Victimization Corpus . ACM The Web Conference 2024 (Web4Good
     Track).

 12. Yapei Chang, Kyle Lo, Tanya Goyal, Mohit Iyyer. BooookScore: A systematic exploration of
     book-length summarization in the era of LLMs. ICLR 2024 (oral).

 13. Simeng Sun, Yang Liu, Shuohang Wang, Chenguang Zhu, Mohit Iyyer. PEARL: Prompting
     Large Language Models to Plan and Execute Actions Over Long Documents. EACL 2024.

 14. Simeng Sun, Yang Liu, Dan Iter, Chenguang Zhu, Mohit Iyyer. How Does In-Context Learning
     Help Prompt Tuning? Findings of EACL 2024.




                                                   2
15. Shufan Wang, Yixiao Song, Andrew Drozdov, Aparna Garimella, Varun Manjunatha, Mohit
    Iyyer. kNN-LM Does Not Improve Open-ended Text Generation. EMNLP 2023.

16. Sewon Min, Kalpesh Krishna, Xinxi Lyu, Mike Lewis, Wen-tau Yih, Pang Wei Koh, Mohit Iyyer,
    Luke Zettlemoyer, Hannaneh Hajishirzi. FActScore: Fine-grained Atomic Evaluation of Factual
    Precision in Long Form Text Generation. EMNLP 2023.

17. Nader Akoury, Qian Yang, Mohit Iyyer. Disco Elysium: Exploring Player Perceptions of LLM-
    Generated Dialogue within a Commercial Video Game. Findings of EMNLP 2023.

18. Andrew Drozdov, Honglei Zhuang, Zhuyun Dai, Zhen Qin, Razieh Rahimi, Xuanhui Wang, Dana
    Alon, Mohit Iyyer, Andrew McCallum, Donald Metzler, Kai Hui. PaRaDe: Passage Ranking
    using Demonstrations with LLMs. Findings of EMNLP 2023 (short).

19. Marzena Karpinska, Mohit Iyyer. Large language models effectively leverage document-level
    context for literary translation, but critical errors persist. WMT 2023.

20. Kalpesh Krishna, Yixiao Song, Marzena Karpinska, John Wieting, Mohit Iyyer. Paraphrasing
    evades detectors of AI-generated text, but retrieval is an effective defense. NeurIPS 2023.

21. Fangyuan Xu*, Yixiao Song*, Mohit Iyyer, Eunsol Choi. A Critical Evaluation of Evaluations
    for Long-form Question Answering. ACL 2023.

22. Ali Naseh, Kalpesh Krishna, Mohit Iyyer, Amir Houmansadr. Stealing the Decoding Algorithms
    of Language Models. CCS 2023. Distinguished paper award.

23. Kalpesh Krishna, Erin Bransom, Bailey Kuehl, Mohit Iyyer, Pradeep Dasigi, Arman Cohan,
    Kyle Lo. LongEval: Guidelines for Human Evaluation of Faithfulness in Long-form Summariza-
    tion. EACL 2023. Outstanding paper award.

24. Ankita Gupta, Marzena Karpinska, Wenlong Zhao, Kalpesh Krishna, Jack Merullo, Luke Yeh,
    Mohit Iyyer, Brendan O’Connor. ezCoref: Towards Unifying Annotation Guidelines for Coref-
    erence Resolution. Findings of EACL 2023.

25. Kalpesh Krishna, Yapei Chang, John Wieting, Mohit Iyyer. RankGen: Improving Text Gener-
    ation with Large Ranking Models. EMNLP 2022

26. Tu Vu, Aditya Barua, Brian Lester, Daniel Cer, Mohit Iyyer, Noah Constant. Overcoming
    Catastrophic Forgetting in Zero-Shot Cross-Lingual Generation. EMNLP 2022

27. Yixiao Song, Kalpesh Krishna, Rajesh Bhatt, Mohit Iyyer. SLING: Sino Linguistic Evaluation
    of Large Language Models. EMNLP 2022

28. Katherine Thai*, Marzena Karpinska*, Kalpesh Krishna, William Ray, Moira Inghilleri, John
    Wieting, Mohit Iyyer. Exploring Document-Level Literary Machine Translation with Parallel
    Paragraphs from World Literature. EMNLP 2022

29. Marzena Karpinska, Nishant Raj, Katherine Thai, Yixiao Song, Ankita Gupta, Mohit Iyyer.
    DEMETR: Diagnosing Evaluation Metrics for Translation. EMNLP 2022

30. Andrew Drozdov, Shufan Wang, Razieh Rahimi, Andrew McCallum, Hamed Zamani, Mohit
    Iyyer. You can’t pick your neighbors, or can you? When and How to Rely on Retrieval in the
    KNN-LM. Findings of EMNLP 2022



                                              3
31. Shufan Wang, Fangyuan Xu, Laure Thompson, Eunsol Choi, Mohit Iyyer. Modeling Exempli-
    fication in Long-form Question Answering via Retrieval. NAACL 2022.
32. Simeng Sun, Katherine Thai, Mohit Iyyer. ChapterBreak: A Challenge Dataset for Long-Range
    Language Models. NAACL 2022 (short).
33. Katherine Thai, Yapei Chang, Kalpesh Krishna, Mohit Iyyer. RELIC: Retrieving Evidence for
    Literary Claims. ACL 2022.
34. Simeng Sun, Kalpesh Krishna, Andrew Mattarella-Micke, and Mohit Iyyer. Do Long-Range
    Language Models Actually Use Long-Range Context? EMNLP 2021.
35. Tu Vu, Minh-Thang Luong, Quoc Le, Grady Simon, and Mohit Iyyer. STraTA: Self-Training
    with Task Augmentation for Better Few-shot Learning. EMNLP 2021.
36. Marzena Karpinska, Nader Akoury, and Mohit Iyyer. The Perils of Using Mechanical Turk to
    Evaluate Open-Ended Text Generation. EMNLP 2021.
37. Shufan Wang, Laure Thompson, and Mohit Iyyer. Phrase-BERT: Improved Phrase Embeddings
    from BERT with an Application to Corpus Exploration. EMNLP 2021.
38. Zhiyang Xu, Andrew Drozdov, Jay Yoon Lee, Tim O’Gorman, Subendhu Rongali, Dylan Finkbeiner,
    Shilpa Suresh, Mohit Iyyer, and Andrew McCallum. Improved Latent Tree Induction with Dis-
    tant Supervision via Span Constraints. EMNLP 2021.
39. Simeng Sun, Wenlong Zhao, Varun Manjunatha, Rajiv Jain, Vlad Morariu, Franck Dernon-
    court, Balaji Vasan Srinivasan, and Mohit Iyyer. IGA: An Intent-Guided Authoring Assistant.
    EMNLP 2021.
40. Sumanta Bhattacharyya, Amirmohammad Rooshenas, Subhajit Naskar, Simeng Sun, Mohit
    Iyyer, Andrew McCallum. Energy-Based Reranking: Improving Neural Machine Translation
    Using Energy-Based Models. ACL 2021.
41. Iman Deznabi, Mohit Iyyer, Madalina Fiterau. Predicting In-Hospital Mortality by Combining
    Clinical Notes with Time-Series Data. Findings of ACL 2021.
42. Amee Trivedi, Kate Silverstein, Emma Strubell, Mohit Iyyer, Prashant Shenoy. WiFiMod:
    Transformer-based Indoor Human Mobility Modeling using Passive Sensing. ACM COMPASS
    2021.
43. Kalpesh Krishna, Aurko Roy, Mohit Iyyer. Hurdles to Progress in Long-form Question Answer-
    ing. NAACL 2021.
44. Hiroshi Iida, June Thai, Varun Manjunatha, Mohit Iyyer. TABBIE: Pretrained Representations
    of Tabular Data. NAACL 2021.
45. Simeng Sun, Mohit Iyyer. Revisiting Simple Neural Probabilistic Language Models.   NAACL
    2021 (short).
46. Haw-Shiuan Chang, Jiaming Yuan, Mohit Iyyer, Andrew McCallum. Changing the Mind of
    Transformers for Topically-Controllable Language Generation. EACL 2021.
47. Chen Qu, Liu Yang, Cen Chen, W. Bruce Croft, Kalpesh Krishna, Mohit Iyyer. Weakly-
    Supervised Open-Retrieval Conversational Question Answering. ECIR 2021.



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48. Tu Vu, Tong Wang, Tsendsuren Munkhdalai, Alessandro Sordoni, Adam Trischler, Andrew
    Mattarella-Micke, Subhransu Maji, Mohit Iyyer. Exploring and Predicting Transferability across
    NLP Tasks. EMNLP 2020.

49. Kalpesh Krishna, John Wieting, Mohit Iyyer. Reformulating Unsupervised Style Transfer as
    Paraphrase Generation. EMNLP 2020.

50. Nader Akoury, Shufan Wang, Josh Whiting, Stephen Hood, Nanyun Peng, Mohit Iyyer.
    STORIUM: A Dataset and Platform for Machine-in-the-Loop Story Generation. EMNLP 2020.

51. Andrew Drozdov, Subendhu Rongali, Yi-Pei Chen, Tim O’Gorman, Mohit Iyyer, Andrew Mc-
    Callum. Unsupervised Parsing with S-DIORA: Single Tree Encoding for Deep Inside-Outside
    Recursive Autoencoders. EMNLP 2020.

52. Weiqiu You*, Simeng Sun*, Mohit Iyyer. Hard-Coded Gaussian Attention for Neural Machine
    Translation. ACL 2020.

53. Fenfei Guo, Jordan Boyd-Graber, Mohit Iyyer, Leah Findlater. Which Evaluations Uncover
    Sense Representations that Actually Make Sense? LREC 2020.

54. Kalpesh Krishna, Gaurav Singh Tomar, Ankur Parikh, Nicolas Papernot, Mohit Iyyer. Thieves
    on Sesame Street! Model Extraction of BERT-based APIs. ICLR 2020.

55. Jack Merullo*, Luke Yeh*, Abram Handler, Alvin Grissom II, Brendan O’Connor, Mohit Iyyer.
    Investigating Sports Commentator Bias within a Large Corpus of American Football Broadcasts.
    EMNLP 2019 (short).

56. Andrew Drozdov, Patrick Verga, Yi-Pei Chen, Mohit Iyyer, Andrew McCallum. Unsupervised
    Labeled Parsing with Deep Inside-Outside Recursive Autoencoders. EMNLP 2019 (short).

57. Chen Qu, Liu Yang, Minghui Qiu, Yongfeng Zhang, Cen Chen, W. Bruce Croft, Mohit Iyyer.
    Attentive History Selection for Conversational Question Answering. CIKM 2019.

58. Nader Akoury, Kalpesh Krishna, Mohit Iyyer. Syntactically Supervised Transformers for Faster
    Neural Machine Translation. ACL 2019.

59. Kalpesh Krishna, Mohit Iyyer. Generating Question-Answer Hierarchies. ACL 2019.

60. Tu Vu, Mohit Iyyer. Encouraging Paragraph Embeddings to Remember Sentence Identity
    Improves Classification. ACL 2019 (short).

61. Chen Qu, Liu Yang, Minghui Qiu, W. Bruce Croft, Yongfeng Zhang, Mohit Iyyer. BERT with
    History Modeling for Conversational Question Answering. SIGIR 2019 (short).

62. Andrew Drozdov, Patrick Verga, Mohit Yadav, Mohit Iyyer, Andrew McCallum. Unsupervised
    Latent Tree Induction with Deep Inside-Outside Recursive Auto-Encoders. NAACL 2019.

63. Shufan Wang, Mohit Iyyer. Casting Light on Invisible Cities: Computationally Engaging with
    Literary Criticism. NAACL 2019 (short).

64. Eunsol Choi*, He He*, Mohit Iyyer*, Mark Yatskar*, Wen-tau Yih, Yejin Choi, Percy Liang,
    Luke Zettlemoyer. QuAC: Question Answering in Context. EMNLP 2018.




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65. Shi Feng, Eric Wallace, Alvin Grissom II, Mohit Iyyer, Pedro Rodriguez, Jordan Boyd-Graber.
    Pathologies of Neural Models Make Interpretation Difficult. EMNLP 2018.

66. Kalpesh Krishna, Preethi Jyothi, Mohit Iyyer. Revisiting the Importance of Encoding Logic
    Rules in Sentiment Classification. EMNLP 2018 (short).

67. Mohit Iyyer*, John Wieting*, Kevin Gimpel, Luke Zettlemoyer. Adversarial Example Genera-
    tion with Syntactically Controlled Paraphrase Networks. NAACL 2018.

68. Matthew E. Peters, Mark Neumann, Mohit Iyyer, Matt Gardner, Christopher Clark, Kenton
    Lee, Luke Zettlemoyer. Deep contextualized word representations. NAACL 2018. Best long paper
    award

69. Varun Manjunatha*, Mohit Iyyer*, Jordan Boyd-Graber, Larry Davis. Learning to Color from
    Language. NAACL 2018 (short); also appeared at NIPS 2017 ViGIL Workshop.

70. Mohit Iyyer, Wen-tau Yih, Ming-Wei Chang. Search-based Neural Structured Learning for
    Sequential Question Answering. ACL 2017.

71. Mohit Iyyer*, Varun Manjunatha*, Anupam Guha, Yogarshi Vyas, Jordan Boyd-Graber, Hal
    Daumé III, Larry Davis. The Amazing Mysteries of the Gutter: Drawing Inferences Between
    Panels in Comic Book Narratives. CVPR 2017.

72. Snigdha Chaturvedi, Mohit Iyyer, Hal Daumé III. Unsupervised Learning of Evolving Relation-
    ships Between Literary Characters. AAAI 2017.

73. Mohit Iyyer, Anupam Guha, Snigdha Chaturvedi, Jordan Boyd-Graber, Hal Daumé III. Feud-
    ing Families and Former Friends: Unsupervised Learning for Dynamic Fictional Relationships.
    NAACL 2016. Best long paper award.

74. Ankit Kumar, Ozan Irsoy, Peter Ondruska, Mohit Iyyer, James Bradbury, Ishaan Gulrajani,
    Victor Zhong, Romain Paulus, and Richard Socher. Ask Me Anything: Dynamic Memory Net-
    works for Natural Language Processing. ICML 2016.

75. Jordan Boyd-Graber, Mohit Iyyer, He He, Hal Daumé III. Interactive Incremental Question
    Answering. NIPS Demonstration Track, 2015. Outstanding Demonstration Award.

76. Mohit Iyyer, Varun Manjunatha, Jordan Boyd-Graber, Hal Daumé III. Deep Unordered Com-
    position Rivals Syntactic Methods for Text Classification. ACL 2015.

77. Anupam Guha, Mohit Iyyer, Danny Bouman, Jordan Boyd-Graber. Removing the Training
    Wheels: A Coreference Dataset that Entertains Humans and Challenges Computers. NAACL
    2015.

78. Mohit Iyyer, Jordan Boyd-Graber, Richard Socher, Hal Daumé III. A Neural Network for Factoid
    Question Answering over Paragraphs. EMNLP 2014.

79. Mohit Iyyer, Peter Enns, Jordan Boyd-Graber, Philip Resnik. Political Ideology Detection
    Using Recursive Neural Networks. ACL 2014.




                                               6
Workshop Publications
      Nader Akoury, Ronan Salz, Mohit Iyyer. Towards Grounded Dialogue Generation in Video
      Game Environments AAAI Workshop on Creative AI Across Modalities, 2023.

      Simeng Sun, Brian Dillon, Mohit Iyyer. How Much Do Modifications to Transformer Language
      Models Affect Their Ability to Learn Linguistic Knowledge? ACL Workshop on Insights from
      Negative Results in NLP, 2022.

      Dhruvil Gala, Mohammad Omar Khursheed, Hannah Lerner, Brendan O’Connor, Mohit Iyyer.
      Analyzing Gender Bias within Narrative Tropes. EMNLP Workshop on NLP and CSS, 2020.

      Anupam Guha, Mohit Iyyer, Jordan Boyd-Graber. A Distorted Skull Lies in the Bottom Cen-
      ter... Identifying Paintings from Text Descriptions. NAACL Human-Computer QA Workshop,
      2016.

      Mohit Iyyer, Jordan Boyd-Graber, Hal Daumé III. Generating Sentences from Semantic Vector
      Space Representations. NIPS Workshop on Learning Semantics, 2014.

Preprints
      Chaitanya Malaviya, Joseph Chee Chang, Dan Roth, Mohit Iyyer, Mark Yatskar, and Kyle Lo.
      Contextualized Evaluations: Taking the Guesswork Out of Language Model Evaluations. arXiv
      2024.

      Shane Arora*, Marzena Karpinska*, Hung-Ting Chen, Ipsita Bhattacharjee, Mohit Iyyer, Eunsol
      Choi. CaLMQA: Exploring culturally specific long-form question answering across 23 languages.
      arXiv 2024.

      Rachneet Sachdeva, Yixiao Song, Mohit Iyyer, Iryna Gurevych. Fine-grained Hallucination
      Detection and Mitigation in Long-form Question Answering. arXiv 2024.

      Garima Dhanania, Sheshera Mysore, Chau Minh Pham, Mohit Iyyer, Hamed Zamani, Andrew
      McCallum. Interactive Topic Models with Optimal Transport. arXiv 2024.

      Simeng Sun, Dhawal Gupta, Mohit Iyyer. Exploring the impact of low-rank adaptation on the
      performance, efficiency, and regularization of RLHF. arXiv 2023.

      Pedro Rodriguez, Shi Feng, Mohit Iyyer, He He, Jordan Boyd-Graber. Quizbowl: The Case for
      Incremental Question Answering. arXiv 2019.

Funding

In total, I have raised almost $5M in research funding over the last five years from the NSF, industry labs, and
philanthropic organizations.

   • NSF RI MEDIUM, 2023-2027
     “Multilingual Long-form QA with Retrieval-Augmented Language Models”
     PI: Eunsol Choi, co-PI: Mohit Iyyer
     UMass share: $554,000




                                                       7
• Google Research Award, 2023
  “RankGen: Improving Text and Code Generation with Large Ranking Models”
  PI: Mohit Iyyer
  $30,000
• Kensho Research Award, 2023
  “Improving factuality via LLM alignment”
  PI: Mohit Iyyer
  $74,000
• NSF RETTL, 2022-2025
  “STEM Learning Embedded in a Machine-in-the-Loop Collaborative Story Writing Game”
  PI: Mohit Iyyer, co-PIs: Andrew Lan, Stephen Hood, Danielle McNamara
  $621,352
• Open Philanthropy, 2022-2024
  “Improving AI translation of novels into English”
  PI: Mohit Iyyer
  $822,365
• Alexa Prize TaskBot Challenge, 2021-2022
  PI: Hamed Zamani, co-PIs: Mohit Iyyer, Bruce Croft
  $250,000
• NSF CAREER, 2021-2026
  “Building Creative Writing Assistants for Machine-in-the-Loop Storytelling”
  PI: Mohit Iyyer
  $532,000
• NSF RI Medium, 2020-2024
  “Tree-Structured Self-Supervised Modeling for Natural Language”
  PI: Mohit Iyyer, co-PI: Andrew McCallum
  $1.2 million
• Subcontract with US Navy, 2020-2023
  “Natural language processing of fleet data”
  PI: Mohit Iyyer
  $136,295
• Adobe Faculty Research Gift, 2019-2023
  PI: Mohit Iyyer
  $200,000 cumulative
• IBM Faculty Award, 2020
  PI: Mohit Iyyer
  $20,000
• NSF CCRI Planning Grant, 2019-2020
  “Planning for the Development of a Platform to Support Multilingual and Multi-Domain Coref-
  erence Annotation for Natural Language Processing Research”
  PI: Brendan O’Connor, co-PI: Mohit Iyyer
  $100,000



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  • Genpact Faculty Gift, 2019
    PI: Mohit Iyyer
    $50,000
  • Sony Research Award, 2019
    PI: Mohit Iyyer
    $60,000
  • Intuit AI Award, 2019
    PI: Mohit Iyyer
    $133,750
  • Facebook Robust Deep Learning for NLP Award, 2019
    PIs: Brendan O’Connor & Mohit Iyyer
    $76,905
  • Allen Institute Young Investigator Award, 2018
    PI: Mohit Iyyer
    $125,000

Advising

Postdocs:
    Marzena Karpinska (2020-2024)

PhD advisees:
    Shufan Wang (2019-), CS
    Katherine Thai (2020-), CS
    Yixiao Song (2022-), Linguistics & CS,co-advised with Rajesh Bhatt
    Yapei Chang (2022-), CS
    Chau Pham (2022-), CS
    Yekyung Kim (2023-), CS
    Jenna Russell (2024-), CS
    Rishanth Rajendhran (2024-), CS

PhD alumni:
  • Kalpesh Krishna (2018-2023), CS, Google PhD Fellow, now research scientist at Google Gemini
  • Tu Vu (2018-2023), CS, research scientist at Google DeepMind & Asst. Prof at Virginia Tech
  • Simeng Sun (2019-2024), CS, research scientist at Nvidia
  • Andrew Drozdov (2018-2024, co-advised with Andrew McCallum), CS, research scientist at Databricks
  • Nader Akoury (2018-2024), CS, postdoc at Cornell



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On committee:
    Emma Strubell (UMass CS PhD, 2019)

    Patrick Verga (UMass CS PhD, 2019)

    Carolyn Anderson (UMass Linguistics PhD, 2020)

    Luke Vilnis (UMass CS PhD, 2020)

    Su Lin Blodgett (UMass CS PhD, 2020)

    Brandon Prickett (UMass Linguistics PhD, 2020)

    Abe Handler (UMass CS PhD, 2021)

    Katie Keith (UMass CS PhD, 2021)

    Chen Qu (UMass CS PhD, 2021)

    Chenyun Wu (UMass CS PhD, 2021)

    Trapit Bansal (UMass CS PhD, 2021)

    Rajarshi Das (UMass CS PhD, 2022)

    Xiang Lorraine Li (UMass CS PhD, 2022)

    Haw-Shiuan Chang (UMass CS PhD, 2022)

    Subendhu Rongali (UMass CS PhD, 2022)

    Difan Liu (UMass CS PhD, 2022)

    Virat Shejwalkar (UMass CS PhD, 2022)

    Jyoti Iyer (UMass Linguistics PhD, 2022)

    Pinelopi Papalampidi (University of Edinburgh Informatics PhD, 2022)

    Mahmood Jasim (UMass CS PhD, 2023)

    Shahrzad Naseri (UMass CS PhD, 2023)

    Pengshan Cai (UMass CS PhD, 2023)

    Dung Thai (UMass CS PhD, 2023)

    Pengshan Cai (UMass CS PhD, 2023)

    Youngwoo Kim (UMass CS PhD, 2024)

    Sheshera Mysore (UMass CS PhD, 2024)

    Zhiqi Huang (UMass CS PhD, 2024)

    Taisiya Glushkova (Instituto Superior Técnico CS PhD, 2024)



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Mentoring:
    Jiarui Liu (2023-), UMass CS MS
    Ipsita Bhattacharjee (2023-2024), UMass CS UG
    Ronan Salz (2022-2023), UMass CS UG
    Naveen Nizar (2022), UMass CS MS
    Nishant Raj (2022), UMass CS MS
    Xiaoyu Song (2021-2022), UMass CS MS
    George Wei (2021-2022), UMass CS UG
    Yapei Chang (2020-), Smith CS UG, now PhD student in my group
    Shriya Atmakuri (2021), UMass CS MS
    Evan Moore (2020-2021), UMass CS MS
    Kavya Jeganathan (2020-2021), UMass CS UG
    Luke Yeh (2018-2020), UMass CS UG
    Wenlong Zhao (2020-2021), UMass CS MS, now CS PhD student at UMass
    Sangeetha Balasubramanian (2020-2021), UMass CS MS, now at ML engineer at Amazon
    Akshita Bhagia (2019-2020), UMass CS MS now research engineer at AI2
    Dhruvil Gala (2019-2020), UMass CS UG, now at Microsoft
    Varun Sharma (2019-2020), UMass CS MS, now at Bloomberg
    Weiqiu You (2018-2020), UMass CS MS, now PhD student at UPenn
    Jack Merullo (2018-2020), UMass CS UG now PhD student at Brown
    Davis Yoshida (2016), CU Boulder undergraduate, now PhD student at TTIC
    Danny Bouman (2015), UMD College Park undergraduate

Teaching
    Spring 2024: Advanced Natural Language Processing (CS685), 204 students
    Spring 2023: Advanced Natural Language Processing (CS685), 168 students
    Spring 2022: Advanced Natural Language Processing (CS685), 110 students
    Fall 2021: Advanced Natural Language Processing (CS685), 120 students
    Fall 2020: Advanced Natural Language Processing (CS685), 122 students
    Spring 2019: Deep Learning for Natural Language Processing (CS690D), 106 students, new course
    Fall 2019: Introduction to Natural Language Processing (CS585), 200 students
    Fall 2018: Introduction to Natural Language Processing (CS585), 107 students



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Invited talks
    Aug 2024: keynote at KDD CUP 2024 RAG workshop

    Jul 2024: keynote at Workshop on Long Context Foundation Models (ICML 2024)

    Jun 2024: talk at Tel Aviv University NLP seminar

    Feb 2024: talk at University of Chicago / TTIC

    Dec 2023: talk at University of Tokyo

    Nov 2023: talk at MIT Embodied Intelligence seminar

    Nov 2023: talk at UPenn CLunch

    Oct 2023: talk at UMD CLIP Colloquium

    Jul 2023: keynote at SIGIR Workshop on Retrieval-Enhanced Machine Learning

    May 2023: talk at EACL Workshop on Insights from Negative Results in NLP

    Apr 2023: talk at NYU Text-as-Data series

    Dec 2022: talk at IndoML 2022

    Jul 2022: lecture at 6th International Gran Canaria School on Deep Learning

    May 2022: talk at Baidu Research (remote)

    Apr 2022: talk at UNC Chapel Hill (remote)

    Oct 2021: talk at Cornell AI seminar (remote)

    Jun 2021: talk at Yandex NLP seminar (remote)

    Jun 2021: talk at Cambridge NLP seminar (remote)

    Mar 2021: talk at Georgia Tech NLP seminar (remote)

    Sep 2020: talk at UMass CICS Computing and Social Justice series (remote)

    Sep 2020: talk at UPenn CLunch (remote)

    Aug 2020: talk at Data Science fwdays’20, Kyiv (remote)

    Jul 2020: talk at USC/ISI Boston office (remote)

    Nov 2019-Jan 2020: Towards story generation: NYU, Google AI Language, CMU LTI

    Nov 2019: Racial bias in sports commentary: Brown University

    Sep 2019: Neural Question Answering and Generation: IBM QA and Semantic Parsing workshop

    Mar 2019: Neural Language Modeling: UMass Cognitive Brown Bag

    Nov 2018: Deep Learning for Question Answering: University of Antwerp



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   Oct 2018-May 2019: Towards Understanding Narratives with Artificial Intelligence: University of
   Vermont (Science of Stories Symposium), WPI, UMass Data Science for the Humanities Series,
   Amazon Cambridge

   July 2018: Generating QA Dialogs from Documents: TTIC Language Generation workshop

   Mar 2018: Generating Adversarial Examples with Syntactically Controlled Paraphrase Networks:
   USC/ISI NL Seminar

   Feb 2018: Towards Understanding Creative Language with Artificial Intelligence: Ursinus College

   Jan 2018: Generating Syntactic Adversaries with Controlled Paraphrasing: Indian Institute of
   Science, Bengaluru

   Feb-April 2017, Deep Learning for Creative Language Understanding: UC Davis, TTIC, CMU,
   Dartmouth, Northeastern, UC Santa Cruz, UMass Amherst, WUSTL, Microsoft Research, Allen
   Institute for AI

   Jan 2017: Talk at CU Boulder Stats, Optimization, and Machine Learning seminar

   Nov 2016: Talk at UMass Amherst Machine Learning & Friends Lunch

External Service & Outreach
   Senior Area Chair for ACL 2025, ACL 2024, ACL 2023, ACL 2022, COLING 2022, EMNLP 2021

   Ethics Chair for COLM 2024

   Area Chair for EMNLP 2024, ICLR 2024, EMNLP 2023, EMNLP 2022, ACL 2021, NAACL 2021,
   EMNLP 2020, ACL 2020, CoNLL 2019, EMNLP 2019

   Program Committee/Reviewer for TACL, ACL, EMNLP, NAACL, ICLR, NIPS, ICML, CVPR

   Sponsorship co-chair of NAACL 2024

   Co-organizer of 5th Workshop on Narrative Understanding (WNU) at ACL 2023

   Co-organizer of 4th Workshop on Narrative Understanding (WNU) at NAACL 2022

   Co-organizer of 1st Workshop on Document-grounded Dialogue and Conversational QA (DialDoc)
   at ACL 2021

   Co-organizer of 3rd Workshop on Narrative Understanding (WNU) at NAACL 2021

   Co-organizer of 1st Joint Workshop on Narrative Understanding, Storylines, and Events (NUSE)
   at ACL 2020

   Guest Editor of PLOS ONE Science of Stories Collection

   Co-organizer of Narrative Understanding Workshop at NAACL 2019

   Publicity Chair of EMNLP 2018

   Co-organizer of Human-Computer Question Answering Competition at NIPS 2017




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    Co-organizer of Human-Computer Question Answering Workshop at NAACL 2016
    Co-organizer of Mid-Atlantic Student Colloquium on Speech, Language and Learning (MASC-
    SLL) 2016
    Talk at DC-NLP Meetup on “Deep Learning for Question Answering”
    Introductory talk to high schoolers about the technology behind our quiz bowl system

Institutional Service
    Internal awards committee (2021-)
    Graduate program committee (2020)
    Data science faculty recruiting committee (2019)
    Annual faculty review committee (2019)
    Graduate program committee (2018)
    PhD admissions committee (2018)

Media
    2024 TechCrunch article on our NoCha benchmark
    2023 UMass Magazine feature on our literary machine translation work
    2023 UMass press release covering our award-winning work on LongEval
    Spoke about large language models and ChatGPT on local news stations in 2023:
    GBH, WWLP (and again here), Western Mass News (and again here)
    EMNLP 2019 football racial bias press: The Undefeated
    CVPR 2017 comic books press: MIT Tech Review, Digital Trends
    NAACL 2016 relationships press: Aeon
    EMNLP 2014 quiz bowl press: UMIACS, Terp, Diamondback, Colorado CS
    QANTA defeats Ken Jennings, 300-160
    QANTA quiz bowl system exhibition match against a team of four former Jeopardy champions in
    May 2015 (result: 200-200 tie)

Patents
    Richard Socher, Ankit Kumar, Ozan Irsoy, Mohit Iyyer, Caiming Xiong, Stephen Merity, Romain
    Paulus. Dynamic memory network. United States Patent #11113598. September 7, 2021.
    Matthew E. Peters, Mark Neumann, Mohit Iyyer, Matt Gardner, Christopher Clark, Kenton Lee,
    Luke Zettlemoyer. System and methods for performing NLP related tasks using contextualized
    word representations. United States Patent #11030414. June 8, 2021.




                                               14
                                         EXHIBIT B

                                    Materials Relied Upon

Academic Articles
1.
                                                                              .
2. Carolyn Caffrey Gardner & Gabriel J. Gardner, Fast and Furious (at Publishers): The
   Motivations behind Crowdsourced Research Sharing, 78 College & Research Libaries 131,
   132 (2017), available at
   https://www.researchgate.net/publication/317117356_Fast_and_Furious_at_Publishers_The_
   Motivations_behind_Crowdsourced_Research_Sharing.
3. Vladmir V . Bochkarev et al., The Average Word Length Dynamics as an Indicator of
   Cultural Changes in Society, 12 Soc. Evolution & Hist. 153, 155 (2015), available at
   https://www.sociostudies.org/journal/files/seh/2015_2/153-175.pdf.

Produced Documents, Data and Source Code

1. ANT_BARTZ_000002544.
2. ANT_BARTZ_000436674.
3. ANT_BARTZ_000436675.
4. ANT_BARTZ_000004894.
5. ANT_BARTZ_000436666.
6. ANT_BARTZ_000000005.
7. ANT_BARTZ_000436661.
8. ANT_BARTZ_000436662.
9. ANT_BARTZ_000436663.
10. ANT_BARTZ_000436664.
11. ANT_BARTZ_000436665.
12. ANT_BARTZ_000436666.
13. BARTZ_ZHAO_CERT_000000506.
14. BARTZ_ZHAO_CERT_000000507.
15. BARTZ_ZHAO_CERT_000000509.

Deposition Transcripts

1. Deposition of Ben Y. Zhao.

Declarations

1. Declaration of Ben Y. Zhao, PhD in support of Plaintiffs’ Motion for Class Certification.
2. Declaration of Mycal Tucker in support of Defendant Anthropic PBC’s Opposition to
   Plaintiffs’ Motion for Class Certification.
Web Sources
1.

2.



                                           .
3.




4.

                                                                                           .
5.

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7. Best Books of the Decade: 1920s, goodreads.com, (last visited Apr. 15, 2025), available at
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15.
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2                                  CERTIFICATE OF SERVICE

3       I, Douglas A. Winthrop, am the ECF user whose identification and password are being used to

4    file the foregoing DECLARATION OF MOHIT IYYER IN SUPPORT OF DEFENDANT

5    ANTHROPIC       PBC’S      OPPOSITION     TO     PLAINTIFFS’      MOTION      FOR     CLASS

6    CERTIFICATION.

7

8       Dated: April 17, 2025

9                                                    /s/ Douglas A. Winthrop
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     IYYER DECL. ISO OPP. TO CLASS CERT.                               No. 3:24-CV-05417-WHA
